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                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA




                  Exhibit LL
                 Attachment 1
                  Part 1 of 2
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                                    BARRY SULKIN
                            ENVIRONMENTAL CONSULTANT
                                 4443 Pecan Valley Road
                                  Nashville, TN 37218
                                    (615)255-2079

                                 Maxine Mine, Alabama
                              Sampling and Investigation Report
                                     October 17, 2017



Overview

At the request of the Southern Environmental Law Center (SELC) and Black Warrior
Riverkeeper (BWRK) I have been conducting water and sediment sampling at the former
Maxine Mine waste disposal site located along the Locust Fork of the Black Warrior River near
river mile 390.5 about five miles upstream of its confluence with the Mulberry Fork. This can be
found on the Gilmore, AL USGS 7.5 minute quadrangle topographic map, a portion of which is
shown below in Figures 1 & 2 from the 1971 edition.

Figure 1                                                   Figure 2




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Sampling was conducted on September 20, 2016, August 1, 2017, and August 16 – 18, 2017. On
the first sampling trip, I was accompanied by Johnny Kinney of BWRK and Frank Chitwood,
and water and sediment samples were taken only along the river bank with access by boat. The
following year split sampling was done in August 2017 with representatives from site owner
Drummond. These samples were taken on site as well as in and along the river and included
chemical as well as toxicity analyses, along with field testing for physical parameters
conductivity, pH, and temperature.

All samples were collected consistent with state and EPA protocols in laboratory provided
containers, with supplied preservatives added as required for given parameters, using new gloves
at each site, filtered in the field as needed, and placed into ice chests for delivery with Chain of
Custody forms maintained for all samples. The September 20, 2016 samples were shipped by
FedEx the same day to Pace Analytical lab (Pace), except for the pH samples which I delivered
the following morning to Sutherland Environmental lab in Birmingham. For the sampling in
August 2017, all samples were shipped by FedEx to Test America lab, after site-specific,
detailed plans and procedures prepared by Aquilogic (and described in Anthony Brown’s report
for this case) were implemented. Also for the August 2017 sampling, procedures were agreed
upon, followed, and observed in concert with Drummond representatives who were conducting
Drummond’s sampling.

Figure 3 – Sample Locations September 20, 2016




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Figure 4 – Sample locations August 2017




Sample locations were identified by numbers assigned by Aquilogic as shown on the map above
in Figure 4 prepared by Aquilogic.


Field Observations & Data

Field readings for conductivity, pH, and temperature were done using a Hach HQ30d meter with
CDC40115 conductivity probe and PHC101 pH probe. Field measurements were taken during
the August 2017 visits; no field measurements were taken on the September 20, 2016 visit.
Calibration was conducted before and/or after each field visit in August 2017 when field
measurements were taken. My field notes for the August 2017 visits are attached as Attachment
2.

Field parameters for measurements I took during both of the August 2017 surveys are presented
below in tables prepared by Aquilogic. Values in bold indicate an exceedance of 2011 EPA
guidance of 300 µS/cm for conductivity (see
https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=233809) and values in gray cells in bold


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indicate a violation of Alabama Water Quality Criteria set forth at Alabama Administrative Code
335-6-10, and EPA regulations at 40 CFR Part 434.

Table 1




Table 2




Conductivity is an indication of mineral or pollutant content of water, and commonly used as a
reliable scientific method to identify potential areas of contamination.
(http://water.epa.gov/type/rsl/monitoring/vms59.cfm) Background or uncontaminated areas
would have conductivity generally in the range of up to 300 µS/cm depending on the natural or
background conditions of the local geology and water. pH is a measure of how acidic or basic
water is, with 7 being neutral, lower than 7 being more acidic, and higher than 7 being more
basic (or alkaline) on a scale of 0 to 14.
(https://archive.epa.gov/water/archive/web/html/vms54.html)

From the field it can be seen that the impacted waters at the Maxine site are extremely
contaminated by substances related to both conductivity and pH. Background or reference

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readings were taken at one river location and three near or on-site locations that are upgradient
and/or appear unimpacted by runoff or water flowing through the waste. These were:

SW2 a small stream just south of the waste site that may be impacted by other mining
SW7 a spring that flows to a pond in a hollow on west side of site
SW11 a spring past the power line, west of the waste pile, that flows toward the main stream
through site (aka Tributary 1)
SW15 Locust Fork about two miles upstream from the site

None of the above four sites are completely unimpacted or pristine, but can be useful for
comparison with sites receiving flow from the mine waste. SW2 likely receives flow from other
mining areas, and the springs at SW7 and SW11 appear to be downgradient from disturbed areas
of the Maxine site other than where waste is located. The site upriver at SW15 is above the
Maxine waste site, but is downstream from other area mining and disposal activities.

These four sites had conductivity ranging from 70.2 to 1,083 µS/cm (average of 514.7µS/cm) –
or excluding SW2 with apparent mining impacts, from 70.2 to 267 µS/cm (average of 148.9
µS/cm) – as compared to impacted waters with conductivity from 1,044 to 9,490 µS/cm – up to
over 100 times higher. Similarly, the pH for the on-site background sites was relatively neutral
with impacted waters much more acidic with several pH values measured below 4 and some less
than 3 pH.


Sample Results

       1. September 20, 2016

Limited samples were taken along the river on September 20, 2016. The samples were taken
between 10:45 am and 12:15 pm at the main discharge from the Maxine waste site, identified as
SLO (for slough) on this date (near site SW4 used in August 2017), and at a reference site in a
tributary cove across the river, identified as REF. See Figure 3 above for sampling locations.

Samples were shipped by FedEx at 6:00 pm the same day to Pace lab except for pH which was
taken to Sutherland lab in Birmingham the next morning. Results from samples taken on this
date are given in Tables 3 and 4 below, and the lab reports can be found at Attachment 3.

Table 3 – September 20, 2016 Water – Total Metals

                             SLO1 9/20/16            REF1 9/20/16
Aluminum                     247 mg/L                ND
Antimony                     ND                      ND
Arsenic                      .010 mg/L               .0015 mg/L
Barium                       .0075 mg/L              .033 mg/L
Beryllium                    .067 mg/L               ND
Boron                        .29 mg/L                .021 mg/L
Cadmium                      .0013 mg/L              ND
Calcium                      281 mg/L                3.2 mg/L
Chromium                     .015 mg/L               ND
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Cobalt                      .43 mg/L                .0011 mg/L
Copper                      ND                      ND
Iron                        385 mg/L                3.8 mg/L
Lead                        ND                      ND
Lithium                     9.6 mg/L                ND
Magnesium                   326 mg/L                2.3 mg/L
Manganese                   17.8 mg/L               .63 mg/L
Molybdenum                  ND                      ND
Nickel                      .81 mg/L                .0014 mg/L
Potassium                   3.8 mg/L                1.9 mg/L
Selenium                    .0040 mg/L              ND
Silicon                     35.3 mg/L               1.0 mg/L
Silver                      ND                      ND
Sodium                      43.8 mg/L               2.2 mg/L
Strontium                   .072 mg/L               .022 mg/L
Thallium                    .00056 mg/L             ND
Tin                         ND                      ND
Titanium                    ND                      .0015 mg/L
Vanadium                    .018 mg/L               ND
Zinc                        1.5 mg/L                ND
Mercury                     ND                      ND
Specific Conductance        5370 µS/cm              95.0 µS/cm
Total Dissolved Solids      8710 mg/L               15 mg/L
Total Suspended Solids      27 mg/L                 22 mg/L
Sulfur                      .136 %(w/w)             ND
Trivalent Chromium          ND                      ND
TKN                         5.0 mg/L                1.4 mg/L
Phosphorus                  ND                      .091 mg/L
Chloride                    1.5 mg/L                2.9 mg/L
Ammonia                     4.1 mg/L                .51 mg/L
Nitrate                     NA                      NA
Nitrate-Nitrite             .099 mg/L               .10 mg/L
Hexavalent Chromium         ND                      ND
Cyanide                     ND                      ND
Total Recoverable           ND                      ND
Phenolics
Sulfate                     6020 mg/L               2.4 mg/L
pH                          3.57                    6.02
Acidity                     NA                      NA
Alkalinity                  NA                      NA

Values in gray highlight indicate exceedance of Alabama general, aquatic life (acute or chronic)
or human health criteria; note that a single data point is not directly comparable to chronic
criteria, but useful for indication of pollution. Values in turquoise highlight exceed EPA

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recommended criteria. Additionally, values in bold significantly exceed reference site
conditions indicating violations of antidegradation criteria.

The above data, along with visual observations at the site, clearly show pollutants discharging
from the Maxine waste site far in excess of what would be coming from the unpolluted stream
that once flowed there, or what would be legally and reasonably allowed under a discharge
permit. Most notable are the low pH along with the presence or elevated levels of aluminum,
arsenic, calcium, chromium, cobalt, iron, magnesium, manganese, selenium, ammonia, sulfate,
and conductivity.


                                                             Figure 5
                                                             Maxine tributary flow
                                                             into Locust Fork
                                                             looking downstream at
                                                             sampling location
                                                             (9/20/16)




Regarding arsenic, while it appears that Alabama has not established a safe level of arsenic for
human contact (aka swimming, recreation), other states have. For instance, the neighboring state
of Tennessee has established a safe level of arsenic for human contact at .010 mg/L (10 µg/L)
(see Tennessee Rules and Regulations 0400-40-03). The level found in this limited sampling
borders on that amount, which is also much over the reference site level. There is no reason to
think that what is unsafe in one state is safe in another just because a criterion has not been
established.




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Table 4 – September 20, 2016 Sediment

                      SLO1 9/20/16    REF1 9/20/16
Aluminum              2780 mg/kg      3690 mg/kg
Antimony              ND              ND
Arsenic               63.6 mg/kg      1.8 mg/kg
Barium                109 mg/kg       53.6 mg/kg
Beryllium             .30 mg/kg       ND
Boron                 3.2 mg/kg       ND
Cadmium               ND              ND
Calcium               394 mg/kg       279 mg/kg
Chromium              6.4 mg/kg       4.2 mg/kg
Cobalt                1.4 mg/kg       3.8 mg/kg
Copper                13.4 mg/kg      5 mg/kg
Iron                  33500 mg/kg     6740 mg/kg
Lead                  11.2 mg/kg      6 mg/kg
Lithium               6.3 mg/kg       4.2 mg/kg
Magnesium             510 mg/kg       328 mg/kg
Manganese             34.5 mg/kg      88.2 mg/kg
Molybdenum            4.4 mg/kg       ND
Nickel                4 mg/kg         5.6 mg/kg
Potassium             1070 mg/kg      307 mg/kg
Selenium              2.3 mg/kg       .33 mg/kg
Silicon               696 mg/kg       1040 mg/kg
Silver                ND              ND
Sodium                460 mg/kg       ND
Strontium             18.3 mg/kg      2.5 mg/kg
Thallium              .35 mg/kg       ND
Tin                   ND              ND
Titanium              23.7 mg/kg      28.5 mg/kg
Vanadium              16.1 mg/kg      6.9 mg/kg
Zinc                  10.5 mg/kg      18.4 mg/kg
Mercury               .29 mg/kg       .036 mg/kg
Sulfur                .623 % (w/w)    .0531 %(w/w)
TKN                   1530 mg/kg      927 mg/kg
Phosphorus            127 mg/kg       114 mg/kg
Chloride              123 mg/kg       274 mg/kg
Ammonia               105 mg/kg       78 mg/kg
Nitrate-Nitrite       ND              ND
Hexavalent Chromium   ND              ND
Cyanide               ND              ND
Total Recoverable     1.6 mg/kg       ND
Phenolics
Sulfate               3530 mg/kg      ND

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As far as I am aware, there are no sediment criteria established for Alabama. There are various
sets of values available from EPA for different programs and uses, some specific to different
regions. One way to address this matter and make use of site data is to take an area reference
sample for comparison, as done here. While the above data and highlights are limited in number
of samples and scope, they are useful as an indication of contamination. Values in bold indicate
notable elevation over the reference sample.

Contaminants which stand out in the above sediment comparison are arsenic, boron, copper,
iron, molybdenum, potassium, selenium, sodium, strontium, mercury, phenols, and sulfate.
These further support the opinion that the area of discharge is significantly contaminated by
waste at the Maxine site.

       2. August 2017

I participated in a site survey on June 12, 2017 with other members of our team and Drummond
representatives, but I did not take any samples or field measurements. On August 1, 2017, I
participated in a site survey with SELC, BWRK, Brian Dempsey and Drummond representatives
that included split surface water (SW) samples with Drummond representatives. Samples were
taken between 10:45 am and 3:20 pm, and shipped by FedEx to Test America lab at 7:15 pm the
same day. All sample site identifications (ex SW1, SW2, etc.) are as shown on the map above in
Figure 4 and used for subsequent sampling later that month. I returned to the site with SELC,
BWRK, Wade Major with Aquilogic, Gordon Johnson with Burgess Environmental, Doug
MacLean and Chris Slater of Advisian, and Drummond representatives for a three-day site
investigation and split sampling August 16, 17, 18. Surface water split sampling was done for
chemical parameters on August 16 from 11:45 am to 4:15 pm and shipped to Test America by
FedEx to the lab the following day; and August 18 from 11:35 am to 3:50 pm and shipped to
Test America by FedEx the same day. On the second day, August 17, only toxicity samples
were collected and taken immediately to FedEx for shipping to the lab for testing due to holding
time constraints. Analysis of the results of this toxicity testing is being addressed by Dr. Carys
Mitchelmore, another expert in this case.

Laboratory tests on the surface water sampling were conducted by Test America Lab located in
Pensacola, Florida and laboratory tests on toxicity sampling were conducted by Test America
Lab in Corvallis, Oregon. Results for these three dates are shown in Tables below, which were
prepared by Aquilogic (see Anthony Brown’s tables 9 and 10), and the lab reports are attached as
Attachment 4.




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Table 5 – August 1, 16 & 18 Dissolved Metals (see larger version
at Attachment 5)




Table 6 – August 1, 16 & 18 Total Metals & Other Parameters (see
larger version at Attachment 6)




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Surface water data from these dates consisted of sampling what remains of the stream through
the site and at its confluence with the Locust Fork, one side stream just south of the main site,
springs/streams on the east face of the site along the river, springs on-site upgradient of waste
areas, the river above and below the site, and seepage/streams emanating from the waste dumps.

In looking at these data, most notable are exceedances of state criteria or established federal
levels of cadmium, copper, iron, lead, manganese, nickel, selenium, thallium and zinc. For those
pollutants which have no criteria or federal guidance level, or for which levels significantly
exceed background, pollutants of concern include arsenic, cyanide, nitrogen, phosphorus and
sulfate.

Regulatory Issues

Based on the available information, it appears that no permit for the filling, damming or
otherwise altering of on-site streams was ever obtained from the state or federal permitting
agencies. These activities that have left the site in its present state would have required a 404
permit from the US Army Corps of Engineers and an associated 401 certification from the state
of Alabama (per Sections 401 and 404 of the Clean Water Act). Further, it is doubtful that such
permit and certification could have been obtained for what was done, as it conflicts with
constraints of what is allowed by those regulatory programs. Thus, from my perspective as a
former regulator and consultant in that arena, the in-stream waste and fill, and other stream
alterations on the site constitute unauthorized activities and ongoing violations.

It is clear from the topographic map in Figure 1 and what is now left on the site that there was at
least one stream flowing through the site, which today still partly exists, though in a highly
degraded condition. Based on the pre-conditions and current natural remaining contours and
springs found at the upper reaches of the site, there may well be other smaller streams on the site
that flowed into the primary one, pieces of which appear to still exist.

The stream on the site, referred to as Tributary 1 on the site map above and in related documents,
is shown as a dashed blue line (see Figures 1 and 2). This is the USGS symbol for an
intermittent stream, or one that may have seasonal or no flow at times or in sections. Along with
the adjacent Locust Fork, such streams are still streams in the regulatory sense and are thus
protected by the CWA and associated state law and regulations as waters of the US and state.
Such waters are to be protected by water quality standards, which consist of three parts: uses,
criteria, and antidegradation.

Under the CWA regulatory system, each state establishes designated uses and associated water
quality criteria for all waters. These uses and criteria are generally based on recommended
guidance published by EPA, which has to approve state uses and criteria, or set them for the state
if necessary. Alabama has set designated uses in their regulations (Chapter 335-6-11), with the
Locust Fork classified for Public Water Supply, Swimming and Other Whole Body Water
Contact Sports, and Fish and Wildlife. A use that is explicitly prohibited by the CWA is waste
transport and disposal, as has been done here, where the on-site stream was essentially
appropriated and used for such. Even though a stream may flow through private property on its
way to larger rivers, it is still a protected public waterway.

For the unnamed stream or streams on the site, the state regulations apply the use classification
of Fish and Wildlife per regulations at 335-6-11-.01(5) which states:

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These uses in turn set the applicable water quality criteria, largely controlled by the Fish and
Wildlife use. For many parameters there are numeric criteria set, as shown in Table 5 above, that
establish the allowed content of a given pollutant before it is considered polluted. It should be
noted that waters should not be allowed to rise in content to just below a given criterion – at the
verge of pollution – but rather these criteria are the worst case just prior to pollution, and cleaner
conditions must be maintained where they exist. Where no numeric criteria have been set,
narrative criteria apply as shown below:




Thus, regardless of laboratory tests, it is obvious that conditions of the tributary and edge of the
Locust Fork at the site clearly violate the narrative criteria.

At times, states set numeric criteria more stringent or lenient than EPA guidance values – or
none at all. Though EPA has the authority to overrule weak or missing criteria and set them for
the state, that does not often happen and EPA allows the state’s weak or non-existent criteria to
stand. In such instances the EPA recommended values can at least be used for reference when
assessing sampling data to determine if impacts are occurring. Also, criteria from other states
that have set values or more stringent criteria can be a guide, such as with arsenic discussed
above.
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From the records available, it appears that the Maxine waste site had an NPDES permit (although
the location of the outfall is unclear) that was terminated in 1992, but has not operated under one
since then as required by the CWA for the waste ponds and discharge that have been in place and
going on for many years. An NPDES permit would necessarily contain effluent limits based on
protection of the receiving stream (water quality based effluent limits) or available treatment
options (technology based effluent limits).

EPA publishes effluent limits for most categories of industrial waste including coal mining
operations, which can be found in 40 CFR 434. These, along with state criteria, where they
exist, and other EPA guidance should have been used to establish a permit for this discharge.
However, any permit would also include standard prohibitions that include no deposit of
removed substances in public waters, no in-stream treatment of waste, no mixing of wastewater
and stormwater prior to monitoring for compliance with limits. Further, an NPDES permit
would need to be written so as to protect the uses and criteria of all receiving streams – both the
Locust Fork, and the primary receiving stream that flows through the site. Additionally, there
are several springs and/or streams on the eastern face of the waste site along the Locust Fork
upstream of the mouth of Tributary 1 that are also impacted by the waste and discharging; two of
these were sampled on the August 18, 2017 survey and included in the data set as sites SW12
and SW13.

In addition to the uses and criteria discussed, water quality standards always include a critical,
and often overlooked third part – antidegradation. Simply put, this is the federally required
provision that is often described as what keeps clean waters clean and prevents dirty waters from
getting dirtier. Alabama has such a provision in its regulations that is taken from EPA and reads
in critical part:




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In short, this requires that water not be allowed to rise even to the verge of pollution – right up to
the brink of exceeding criteria – but must rather be kept at cleaner levels where such exist in the
absence of impacts. This is one of the reasons for our taking background, upstream, or reference
samples at and near the Maxine site-- to determine what clean and polluted means in this case,
rather than relying upon a published maximum allowable concentration that may be much higher
in contaminant content. This is not just a good idea for water management; it is actually a
required and equal component of the three parts of water quality standards.

Summary

It is my opinion that activities at the Maxine mine waste site, including continuous illegal
discharges of pollutants, have and continue to violate the Clean Water Act and companion state
law, and associated regulations. The filling and discharges have been done without required
permits and are on-going.

Observations, testing, and sampling at and near the site confirm that conditions of severe
pollution exist that will likely continue to exist and contribute contamination to downstream
waters unless corrective action is taken. Current conditions violate various water quality criteria
and do not protect for all legitimate uses of the waters, including public recreation in the river in
and along the shore of the site.

Qualifications

My qualifications, education, and experience include degrees in Environmental Science
(University of Virginia, 1975) and Environmental Engineering (Vanderbilt University, 1987),
working for (what is now called) the Tennessee Department of Environment and Conservation
(1976 - 1990), and for EPA (2005 – 2007), and twenty-five years of environmental consulting in
private practice. Attachment 1 contains details of my qualifications, including publications,
along with a listing of cases in which I have testified in the last four years and my fee schedule.
All lab reports and associated documents are included in Attachments 3 and 4, and my field
notes are in Attachment 2.




Report by:     Barry Sulkin

Submitted:     October 17, 2017




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                                                                Attachment 1
                                     BARRY SULKIN
                                            ENVIRONMENTAL CONSULTANT
                                              4443 PECAN VALLEY ROAD
                                                 NASHVILLE, TN 37218
                                          PHONE (615) 255-2079 FAX (615) 251-0111


CURRICULUM VITA
                                                                                    Born: May 3, 1953, Memphis, TN
EDUCATION

1987          M.S., Vanderbilt University - Nashville, Tennessee
              Major: Environmental Engineering
Master's Thesis: "HARPETH RIVER BELOW FRANKLIN DISSOLVED OXYGEN STUDY"- Field and lab
study, QUAL2E computer modeling of river hydrology, water quality, and impacts of a sewage treatment plant.

1975          B.A., University of Virginia - Charlottesville, Virginia
              Major: Environmental Science

Additional undergraduate courses: math and engineering at University of Tennessee - Knoxville 1982-1984

HONORS

Conservationist of the Year, 2011, Wild South’s Roosevelt-Ash Society, Ashville, NC, March 23, 2012
River Hero Award, River Network 2006
Lifetime Achievement Award, Tennessee Environmental Council, 1990
Water Conservationist of the Year, Tennessee Conservation League, 1989
State of Tennessee/Vanderbilt University
       Environmental Engineering Graduate School Scholarship, 1985 - 1987
duPont Scholarship, University of Virginia, 1971 - 1975
Eagle Scout, 1967


PROFESSIONAL EXPERIENCE - CURRENT

Sept. 1990 - Environmental Consultant
Present       Self-employed

       Investigator, consultant, and scientist serving clients such as attorneys, environmental/citizen
       organizations, cities, individuals, businesses, media, and sub-contractor for other consultants/engineers.
       Activities include research projects, field studies/sampling, site evaluations, stream/wetland
       determinations, permit negotiations, information and file research, photography, and expert witness
       presentations concerning water quality, TMDL, erosion, landfills, NEPA, FERC, NRC, and other
       environmental issues; also TN Director of Public Employees for Environmental Responsibility (PEER).
       Employed by EPA as special expert for Federal Advisory Committee for Detection and Quantitaion and
       Uses in the Clean Water Act representing environmental groups (June 2005- Dec 2007).




PROFESSIONAL EXPERIENCE - PREVIOUS

                                                            1
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1987-June 1990        Manager
and 1985              Enforcement and Compliance Section
                      Division of Water Pollution Control
                      Tennessee Dept. of Health and Environment
                      Nashville, Tennessee

       Responsibilities: Statewide manager of enforcement investigations and legal referrals for water
       pollution programs under the federal Clean Water Act and the Tennessee Water Quality Act; witness for
       hearings before the Water Quality Control Board, and local and state courts; data processing and
       analysis for wastewater permit discharges; field research projects regarding water quality problems, as
       well as field work involving various stream, river, lake, and wetland issues.

1989                  Instructor
                      Graduate School of Engineering
                      University of Tennessee, Knoxville (Nashville campus)

       Responsibilities: Assistant instructor for graduate course in environmental engineering- wastewater
       treatment.

Sept.-Nov.1986        Assistant Manager
and 1981              Regional Field Office
                      Division of Water Pollution Control
                      Tennessee Dept. of Health and Environment
                      Nashville, Tennessee

       Responsibilities: Coordinated inspections, complaint investigations, field studies, and enforcement for
       wastewater programs in 41 county region.

Sept. 1985
- Aug. 1986   Education leave to attend graduate school

1984-1985             Special Projects Assistant
                      Director's Office - Elmo Lunn, Director
                      Division of Water Pollution Control
                      Tennessee Dept. of Health and Environment
                      Nashville, Tennessee

       Responsibilities: Provided statewide coordination and technical assistance on deep well waste injection
       regulations, clear- cutting forestry problem investigations, animal waste problems, public relations and
       media presentations, state planning and policy, enforcement and field office coordination.




1982-1984             Enforcement Coordinator

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                      Regional Field Office
                      Division of Water Pollution Control
                      Tennessee Dept. of Health and Environment
                      Knoxville, Tennessee

       Responsibilities: Coordinated enforcement action in municipal and industrial drinking water and
       wastewater programs in 24 county region, including fish kills, spills, complaint investigations, and
       stream studies.

1981-1982             Assistant Manager
                      Enforcement Section
                      Division of Water Pollution Control
                      Tennessee Dept. of Health and Environment
                      Nashville, Tennessee

       Responsibilities: Coordinated statewide investigations and legal actions for drinking water, wastewater,
       and safe dam programs.


1977-1981             Water Quality Specialist
                      Regional Field Office
                      Division of Water Pollution Control
                      Tennessee Department of Health and Environment
                      Nashville, Tennessee

       Responsibilities: Inspected drinking water, and municipal and industrial wastewater systems for 41
       county area; investigated spills, underground storage tanks, fish kills, and citizen complaints; conducted
       stream studies; coordinated enforcement program.


1976-1977             Water Quality Specialist
                      Regional Field Office
                      Division of Water Pollution Control
                      Tennessee Dept. of Health and Environment
                      Chattanooga, Tennessee

       Responsibilities: Inspected public drinking water systems for nine county area; investigated spills and
       citizen complaints.


1975                  Research Assistant/Lab Technician
                      Department of Environmental Science
                      University of Virginia
                      Charlottesville, Virginia

       Responsibilities: Analyzed soil and sediment from Chesapeake Bay and marsh/wetland sites for Corps
       of Engineers dredge spoils study.




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1974                Research Assistant
                    Department of Environmental Science
                    University of Virginia
                    Charlottesville, Virginia

       Responsibilities: Weather research project data processing.


1974                  Research Assistant/Lab Technician
                      Department of Civil Engineering
                      Water Quality Lab
                      Memphis State University
                      Memphis, Tennessee

       Responsibilities: Field sampling and lab analyses of water for study of urbanization impacts of
       watershed streams.


PROFESSIONAL/CIVIC ORGANIZATIONS & CERTIFICATIONS (Past & Present)

       Community Engagement Committee, Nashville Planning Department, 2013 to present

       Beaman Park to Bells Bend Conservation Corridor community organization,
            Board of Directors, 2012 to present

       Certified Erosion Prevention and Sedimentation Control Professional (TN), Aug. 2004

       Davidson County Grand Jury, Oct. - Dec. 1998, Nashville, TN

       Nashville and Davidson County - Floodplain Review Committee, Oct. - Dec. 1998

       National Environmental Health Association
              Registered Environmental Health Specialist,1994

       State of Tennessee - Registered Professional Environmentalist, 1982

       American Society of Civil Engineers

       Water Environment Federation

       Tennessee Environmental Council, Board of Directors & Advisory Board, 1994 to present

       International Erosion Control Association

       Tennessee Scenic Rivers Association

       American Water Resources Association

       ADDITIONAL TRAINING


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“Fundamentals of Erosion Prevention and Sediment Control” certification course by the University
of Tennessee and the Tennessee Department of Environment and Conservation, August 26, 2004;
Recertification October 9, 2007

ABASINS Training@ short course of EPA supported computer mapping and water quality
modeling techniques, Utah State Univ., Logan UT, August 6 - 10, 2001

"Wetland Mitigation Techniques" workshop by Tennessee Tech. Univ., Cookeville, TN April 26,
1999

"Pulp and Paper Cluster Rule and Clean Water Act Permits", by Clean Water Network with EPA,
Seattle, Washington, February 18-19, 1998

"Bioengineering Techniques for Streambank and Lakeshore Erosion Control", by Wendy
Goldsmith, International Erosion Control Association, April 27, 1995

"Fundamentals of Hydrogeology, Karst Hydrogeology, and the Monitoring, Containment, and
Treatment of Contaminated Ground Water", by Albert Ogden and Gerald Cox, January 6-7, 1994

"Ground Water Hydrogeology and Dye Tracing in Karst Terrains", by James Quinlan, April 2,
1992

"NPDES Permit Writers Course" by the Environmental Protection Agency (EPA), April 1988

"Sediment Oxygen Demand Workshop", by EPA, U.S. Environmental Research Laboratory, Gulf
Breeze, Florida, September, 1987

"Compliance Monitoring for NPDES Permits", by EPA, October, 1978

"Hazardous Materials Tactical Workshop", by Tennessee Civil Defense, April 1978

"Troubleshooting O & M Problems at Municipal Wastewater Treatment Facilities", by EPA,
March, 1978

PRESENTATIONS/PUBLICATIONS

November 2015
         “Evidence For Leaking Of Two Coal Ash Storage Ponds To Local Surface Water And
Groundwater In Tennessee”, Harkness, Jennifer S.1, Sulkin, Barry2 and Vengosh, Avner1,
(1Division of Earth and Ocean Sciences, Nicholas School of the Environment, Duke University,
Durham, NC; 2Environmental Consultant, Nashville, TN); Abstract & Presentation at 2015
Geological Society of America Annual Meeting in Baltimore, MD

October 2010 & January 2015
        Water Quality Sampling & Testing for Litigation Uses, Western Carolina University,
Environmental Chemistry Class, Cullowhee, NC

April 2014 & March 2015

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        Environmental Regulatory Programs in State and Federal Government, Middle Tennessee
State University, Murfreesboro, TN

June 2013
        NPDES Permits & Cases Presentation at International WaterKeeper Alliance annual
meeting, Calloway Gardens, Pine Mountain, GA

October 2012
        Appalachian Public Interest Environmental Law Conference, University of Tennessee
College of Law, “Transportation Planning for the 21st Century” panel, Knoxville, TN

March 2012
        Alabama Rivers Alliance – “How Winning Is Possible” Keynote address for annual
conference awards, Fairhope, AL

May 2001 – May 2013
        River Rally, annual national training conference held in: California, North Carolina,
Washington, Virginia, Colorado, New Hampshire, Ohio, Maryland, Utah, South Carolina, Oregon;
taught various seminars each year on: Clean Water Act, NPDES Permits, Anti-degradation,
Stormwater, TMDLs, Enforcement, Wetlands & Mitigation; conference by River Network based in
Portland, OR

July 2005
        “The Clean Water Act Owner’s Manual”, second edition, contributing writer & editor,
River Network, Portland, OR

December 2003
      “Stream Flow and the Clean Water Act”, Atlanta, GA, with River Network, Portland, OR

February 2003 & December 2004
        “Clean Water Act - Train the Trainer”, Denver, CO & Madison, WI, with River Network,
Portland, OR

May 2002
       “Tracking TMDLs”, contributing writer & editor, National Wildlife Federation,
Montpelier, VT & River Network, Portland, OR

February 2002
         “A Protocol for Establishing Sediment TMDLs”, contributing writer & editor, developed
for the Georgia Conservancy & University of Georgia Institute of Ecology by the Sediment TMDL
Technical Advisory Group, Athens, GA


March 2001
        “The Ripple Effect - How to Make Waves in the Turbulent World of Watershed Cleanup
Plans”, contributing writer & editor, Clean Water Network, Washington, D.C.

October 1999 - April 2001

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        “Clean Water Act Workshop”, presenter for three-day training conferences - Vermont,
Georgia, Tennessee, Colorado, New Mexico, Ohio, and Alaska, with River Network, Portland, OR

October 2000
        “TMDL Workshop”, presenter for training in San Diego, CA, with River Network,
Portland, OR

April 1999
         "U.S. Environmental Laws & Regulations Compliance - Understanding Your Obligations
Under the Clean Water Act", session on Clean Water Act for course sponsored by Government
Institutes, Inc. of Rockville, MD, given in Nashville, TN

March 1999
      "NPDES and State Water Quality Permits" and "The TMDL Process", presentations at the Tenn.
Clean Water Network conference; March 27, 1999, Bethany Hills Camp, Kingston Springs, TN

March 1999
       "State of the Rivers: Tennessee" presentation at World Wildlife Fund "State of the Rivers
Conference", March 15, 1999, Chattanooga, TN, with co-author of Tenn. section of "A Conservation
Potential Assessment of the Mobile and Tennessee/Cumberland River Basins in Alabama, Georgia, and
Tennessee" by WWF

December 1998
      “America’s Animal Factories”, contributing writer & editor, National Resources Defense Council,
Washington, D.C.

December 1998
       "The TMDL Process", presentation with NRDC attorney at national Sierra Club state leaders
conference, Santa Fe, New Mexico, December 11,1998

October 1998
       "Clean Water Act Permits, Modeling, and TMDLs" presentation at national conference of clean
water organizations & attorneys, by Clean Water Network/NRDC, Oct. 16, 1998, Washington, DC

May 1998
       "Impacts of State Route 840 Upon the Human and Biophysical Environment" NEPA, ISTEA, and
Public Participation in Transportation Projects, Dept. of Environmental Geography guest lecture, Austin
Peay State University, May 1, 1998, Clarksville, TN

March 1998
       "The State, EPA, Citizens - How the System Works" Tennessee Clean Water Conference, Opening
Plenary Presentation, March 28, 1998, Nashville, TN




March 1998


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       "Total Maximum Daily Loads (TMDL) The Science, Process, & Controversy" American Water
Resources Association 1988 Tennessee Conference; paper presentation as part of panel with EPA
representatives on TMDLs, March 3, 1998, Nashville, TN.

February 1997
         International Erosion Control Association, on panel of speakers for session on practical
applications of erosion controls at annual IECA national conference, Nashville, TN

October 1994
        "Stream Ecology, BMPs, and Compliance", environmental impacts of road building, Sierra Club
Southern Appalachian Highlands Ecosystem Taskforce, Transportation Workshop, Banner Elk, NC

June 1994
        "Fundamentals of Tennessee Environmental Law", presentation on Water Pollution Control and
Compliance Strategies, for course sponsored by Government Institutes, Inc. of Rockville, MD, given in
Knoxville, TN

June 1994
         University of Tennessee Law School, guest lecture on water pollution and the related state and
federal laws, Knoxville, TN

October 1992
        "Storm Water Regulations for Saw Mills" - Seminar sponsored by the Tennessee Association of
Forestry and the Univ. of TN, Nashville.

August 1992
        "Storm Water Regulations for Industry" - Seminars sponsored by the Tennessee Association of
Business and the Univ. of TN, Chattanooga, Knoxville, Jackson, and Nashville.

July 1992
        Storm Water in Tennessee - A Training Manual for Manufacturers, University of Tennessee Center
for Industrial Services

April 1992
        "Dissolved Oxygen Study - Sewage Treatment Impacts and Assessments", VA Water Pollution
Control Assoc. 46th Annual Conference, Roanoke, VA

October 1990
        "The Tainted Waters of the Cumberland"; Cumberland Journal, v.1, no. 1, pp. 16-20; Nashville,
Tennessee.

November 1988
         "A Rapid Bioassessment of Richland Creek, Davidson County", by M. Browning, B. Sulkin, T.
Merritt, TN Div. of Water Pollution Control



June 1988
       "Assimilative Capacity of the Obed River at Crossville, Tennessee"; U.S. Geological Survey 1st
Annual Hydrology Symposium, Nashville, TN

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March 1987 - 1994
        Vanderbilt University Graduate School of Engineering and Law School; guest lectures on water
quality topics and computer modeling of river waste assimilative capacity.

July 1983
       Testimony on the pollution at the Oak Ridge nuclear weapons facilities before Congressional
hearing chaired by then Congressman Albert Gore.




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                                     BARRY SULKIN
                               ENVIRONMENTAL CONSULTANT
                                    4443 Pecan Valley Road
                                     Nashville, TN 37218
                                    PHONE (615) 255-2079


As of October 2017:

Testimony in past four years

Federal and state court and administrative cases in which I have given expert testimony in trial or
deposition in the past four years are listed below:


      2014
Barrow v City of Guyton, GA – expert testimony at state EPD administrative hearing, Atlanta

      2015
PEER v TDOT – deposition in federal case re Hickman County wetland mitigation, Nashville

        2017
Tennessee Clean Water Network et al v TVA – testimony in federal court re Gallatin power plant
coal ash, Nashville

Upton et al v Plantation/Kinder Morgan – deposition re pipeline spill – Birmingham

Arrowhead Landfill, Uniontown, AL – deposition and testimony at state permit appeal

Marshall Power Plant, Duke Power, NC – deposition




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                                                                                                                           (504)469-0333




        LIMS USE: FR - NELSON BROOKE
        LIMS OBJECT ID: 2042884

          December 15, 2016




          Nelson Brooke
          Black Warrior River Keeper
          712 37th Street South
          Birmingham, AL 35222




          RE: Project: Maxine Mine
              Pace Project No.: 2042884

          Dear Nelson Brooke:
          Enclosed are the analytical results for sample(s) received by the laboratory on September 21, 2016.
          The results relate only to the samples included in this report. Results reported herein conform to the
          most current, applicable TNI/NELAC standards and the laboratory's Quality Assurance Manual,
          where applicable, unless otherwise noted in the body of the report.

          If you have any questions concerning this report, please feel free to contact me.


          Sincerely,



          Melissa MacNaughton
          Melissa.MacNaughton@pacelabs.com
          Project Manager



          Enclosures




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                                                                     CERTIFICATIONS

    Project:            Maxine Mine
    Pace Project No.:   2042884

  New Orleans Certification IDs
   California Env. Lab Accreditation Program Branch:                            Pennsylviania Dept. of Env Protection (NELAC): 68-04202
   11277CA                                                                      Texas Commission on Env. Quality (NELAC):
   Florida Department of Health (NELAC): E87595                                 T104704405-09-TX
   Illinois Environmental Protection Agency: 0025721                            U.S. Dept. of Agriculture Foreign Soil Import: P330-10-
   Kansas Department of Health and Environment (NELAC):                         00119
   E-10266                                                                      Commonwealth of Virginia (TNI): 480246
   Louisiana Dept. of Environmental Quality (NELAC/LELAP):
   02006

  Asheville Certification IDs
   2225 Riverside Drive, Asheville, NC 28804                                    North Carolina Wastewater Certification #: 40
   Florida/NELAP Certification #: E87648                                        South Carolina Certification #: 99030001
   Massachusetts Certification #: M-NC030                                       Virginia/VELAP Certification #: 460222
   North Carolina Drinking Water Certification #: 37712




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                                                           SAMPLE SUMMARY

    Project:              Maxine Mine
    Pace Project No.:     2042884

    Lab ID              Sample ID                            Matrix            Date Collected            Date Received

    2042884001          SLO1 WATER                           Water              09/20/16 10:45           09/21/16 08:20
    2042884002          REF1 WATER                           Water              09/20/16 12:15           09/21/16 08:20
    2042884003          BCDS WATER                           Water              09/20/16 15:30           09/21/16 08:20
    2042884004          SLO1 SED                              Solid             09/20/16 10:45           09/21/16 08:20
    2042884005          REF1 SED                              Solid             09/20/16 12:15           09/21/16 08:20
    2042884006          BCDS SED                              Solid             09/20/16 15:30           09/21/16 08:20




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                                                     SAMPLE ANALYTE COUNT

    Project:              Maxine Mine
    Pace Project No.:     2042884

                                                                                                                        Analytes
    Lab ID              Sample ID                                                 Method                     Analysts   Reported       Laboratory

    2042884001          SLO1 WATER                                               EPA 6020                      KJR             29         PASI-N
                                                                                 EPA 7470                     MHB1               1        PASI-N
                                                                                SM 2510B                       TAE               1        PASI-N
                                                                                SM 2540C                       CN                1        PASI-N
                                                                                SM 2540D                       CN                1        PASI-N
                                                                             ASTM D4239-05                     MJP               1        PASI-A
                                                                    Trivalent Chromium Calculation             TAE               1        PASI-N
                                                                                EPA 351.2                      CN                1        PASI-N
                                                                                EPA 365.4                      KEL               1        PASI-N
                                                                              SM 4500-Cl-E                    SMS2               1        PASI-N
                                                                             SM 4500-NH3 G                     KEL               1        PASI-N
                                                                             SM 4500-NO3 F                     KEL               1        PASI-N
                                                                                 EPA 7196                     SMS2               1        PASI-N
                                                                                 EPA 9012                     SMS2               1        PASI-N
                                                                                 EPA 9065                      TAE               1        PASI-N
                                                                           ASTM D516-90,02                    SMS2               1        PASI-N
    2042884002          REF1 WATER                                               EPA 6020                      KJR             29         PASI-N
                                                                                 EPA 7470                     MHB1               1        PASI-N
                                                                                SM 2510B                       TAE               1        PASI-N
                                                                                SM 2540C                       CN                1        PASI-N
                                                                                SM 2540D                       CN                1        PASI-N
                                                                             ASTM D4239-05                     MJP               1        PASI-A
                                                                    Trivalent Chromium Calculation             TAE               1        PASI-N
                                                                                EPA 351.2                      CN                1        PASI-N
                                                                                EPA 365.4                      KEL               1        PASI-N
                                                                              SM 4500-Cl-E                    SMS2               1        PASI-N
                                                                             SM 4500-NH3 G                     KEL               1        PASI-N
                                                                             SM 4500-NO3 F                     KEL               1        PASI-N
                                                                                 EPA 7196                     SMS2               1        PASI-N
                                                                                 EPA 9012                     SMS2               1        PASI-N
                                                                                 EPA 9065                      TAE               1        PASI-N
                                                                           ASTM D516-90,02                    SMS2               1        PASI-N
    2042884003          BCDS WATER                                               EPA 6020                      KJR             29         PASI-N
                                                                                 EPA 7470                     MHB1               1        PASI-N
                                                                                SM 2510B                       TAE               1        PASI-N
                                                                                SM 2540C                       CN                1        PASI-N
                                                                                SM 2540D                       CN                1        PASI-N



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                                                     SAMPLE ANALYTE COUNT

    Project:              Maxine Mine
    Pace Project No.:     2042884

                                                                                                                        Analytes
    Lab ID              Sample ID                                                 Method                     Analysts   Reported       Laboratory

                                                                             ASTM D4239-05                     MJP               1        PASI-A
                                                                    Trivalent Chromium Calculation             TAE               1        PASI-N
                                                                                EPA 351.2                      CN                1        PASI-N
                                                                                EPA 365.4                      KEL               1        PASI-N
                                                                              SM 4500-Cl-E                    SMS2               1        PASI-N
                                                                             SM 4500-NH3 G                     KEL               1        PASI-N
                                                                             SM 4500-NO3 F                     KEL               1        PASI-N
                                                                                 EPA 7196                     SMS2               1        PASI-N
                                                                                 EPA 9012                     SMS2               1        PASI-N
                                                                                 EPA 9065                      TAE               1        PASI-N
                                                                           ASTM D516-90,02                    SMS2               1        PASI-N
    2042884004          SLO1 SED                                                 EPA 6020                      KJR             29         PASI-N
                                                                                 EPA 7471                     MHB1               1        PASI-N
                                                                             ASTM D4239-05                     MJP               1        PASI-A
                                                                                EPA 351.2                      CN                1        PASI-N
                                                                                EPA 365.4                      KEL               1        PASI-N
                                                                             SM 4500-NH3 D                     KEL               1        PASI-N
                                                                             SM 4500-NO3 F                     CN                1        PASI-N
                                                                                 EPA 7196                     SMS2               1        PASI-N
                                                                                 EPA 9012                     SMS2               1        PASI-N
                                                                                 EPA 9038                     SMS2               1        PASI-N
                                                                                 EPA 9065                     SMS2               1        PASI-N
                                                                                 EPA 9251                     SMS2               1        PASI-N
    2042884005          REF1 SED                                                 EPA 6020                      KJR             29         PASI-N
                                                                                 EPA 7471                     MHB1               1        PASI-N
                                                                             ASTM D4239-05                     MJP               1        PASI-A
                                                                                EPA 351.2                      CN                1        PASI-N
                                                                                EPA 365.4                      KEL               1        PASI-N
                                                                             SM 4500-NH3 D                     KEL               1        PASI-N
                                                                             SM 4500-NO3 F                     CN                1        PASI-N
                                                                                 EPA 7196                     SMS2               1        PASI-N
                                                                                 EPA 9012                     SMS2               1        PASI-N
                                                                                 EPA 9038                     SMS2               1        PASI-N
                                                                                 EPA 9065                     SMS2               1        PASI-N
                                                                                 EPA 9251                     SMS2               1        PASI-N
    2042884006          BCDS SED                                                 EPA 6020                      KJR             29         PASI-N
                                                                                 EPA 7471                     MHB1               1        PASI-N



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                                                     SAMPLE ANALYTE COUNT

    Project:              Maxine Mine
    Pace Project No.:     2042884

                                                                                                                        Analytes
    Lab ID              Sample ID                                                 Method                     Analysts   Reported       Laboratory

                                                                             ASTM D4239-05                     MJP               1        PASI-A
                                                                                EPA 351.2                      CN                1        PASI-N
                                                                                EPA 365.4                      KEL               1        PASI-N
                                                                             SM 4500-NH3 D                     KEL               1        PASI-N
                                                                             SM 4500-NO3 F                     CN                1        PASI-N
                                                                                 EPA 7196                     SMS2               1        PASI-N
                                                                                 EPA 9012                     SMS2               1        PASI-N
                                                                                 EPA 9065                     SMS2               1        PASI-N
                                                                                 EPA 9251                     SMS2               1        PASI-N




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                                                                    PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:         EPA 6020
    Description:    6020 MET ICPMS
    Client:         Black Warrior Riverkeeper
    Date:           December 15, 2016


    General Information:
    6 samples were analyzed for EPA 6020. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 3050 with any exceptions noted below.
    The samples were prepared in accordance with EPA 3010 with any exceptions noted below.


    Initial Calibrations (including MS Tune as applicable):
    All criteria were within method requirements with any exceptions noted below.


    Continuing Calibration:
    All criteria were within method requirements with any exceptions noted below.


    Internal Standards:
    All internal standards were within QC limits with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.
    QC Batch: 63657
        A matrix spike and/or matrix spike duplicate (MS/MSD) were performed on the following sample(s): 2042741023
               M1: Matrix spike recovery exceeded QC limits. Batch accepted based on laboratory control sample (LCS) recovery.
                 • MS (Lab ID: 264059)
                    • Aluminum
                    • Antimony
                    • Arsenic
                    • Barium
                    • Calcium
                    • Copper
                    • Iron
                    • Lead
                    • Magnesium
                    • Manganese
                    • Molybdenum



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                                                                       PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:          EPA 6020
    Description:     6020 MET ICPMS
    Client:          Black Warrior Riverkeeper
    Date:            December 15, 2016

    QC Batch: 63657
        A matrix spike and/or matrix spike duplicate (MS/MSD) were performed on the following sample(s): 2042741023
               M1: Matrix spike recovery exceeded QC limits. Batch accepted based on laboratory control sample (LCS) recovery.
                    • Selenium
                    • Silicon
                    • Titanium
                    • Vanadium
                 • MSD (Lab ID: 264060)
                    • Aluminum
                    • Antimony
                    • Arsenic
                    • Barium
                    • Boron
                    • Calcium
                    • Copper
                    • Iron
                    • Lead
                    • Manganese
                    • Molybdenum
                    • Nickel
                    • Selenium
                    • Silicon
                    • Strontium
                    • Titanium
                    • Vanadium
               R1: RPD value was outside control limits.
                 • MSD (Lab ID: 264060)
                    • Antimony
                    • Arsenic
                    • Beryllium
                    • Boron
                    • Cadmium
                    • Molybdenum
                    • Nickel
                    • Selenium
                    • Silicon
                    • Silver
                    • Sodium
                    • Thallium

    QC Batch: 63893
        A matrix spike and/or matrix spike duplicate (MS/MSD) were performed on the following sample(s): 2042935003,2043014005
               M1: Matrix spike recovery exceeded QC limits. Batch accepted based on laboratory control sample (LCS) recovery.
                 • MS (Lab ID: 265225)
                    • Barium
                    • Boron



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                                                                     PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:         EPA 6020
    Description:    6020 MET ICPMS
    Client:         Black Warrior Riverkeeper
    Date:           December 15, 2016

    QC Batch: 63893
        A matrix spike and/or matrix spike duplicate (MS/MSD) were performed on the following sample(s): 2042935003,2043014005
               M1: Matrix spike recovery exceeded QC limits. Batch accepted based on laboratory control sample (LCS) recovery.
                    • Calcium
                    • Magnesium
                    • Manganese
                    • Sodium
                    • Strontium
                 • MS (Lab ID: 265227)
                    • Boron
                    • Calcium
                    • Magnesium
                    • Silicon
                    • Sodium
                    • Strontium
                 • MSD (Lab ID: 265226)
                    • Barium
                    • Calcium
                    • Magnesium
                    • Manganese
                    • Sodium
                    • Strontium
                 • MSD (Lab ID: 265228)
                    • Calcium
                    • Magnesium
                    • Sodium
                    • Strontium


    Additional Comments:
    Analyte Comments:

    QC Batch: 63657
               N2: The lab does not hold NELAC/TNI accreditation for this parameter.
                 • BCDS SED (Lab ID: 2042884006)
                     • Silicon
                 • BLANK (Lab ID: 264057)
                     • Silicon
                 • LCS (Lab ID: 264058)
                     • Silicon
                 • MS (Lab ID: 264059)
                     • Silicon
                 • MSD (Lab ID: 264060)
                     • Silicon
                 • REF1 SED (Lab ID: 2042884005)
                     • Silicon




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                                                                     PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:         EPA 6020
    Description:    6020 MET ICPMS
    Client:         Black Warrior Riverkeeper
    Date:           December 15, 2016

    Analyte Comments:

    QC Batch: 63657
               N2: The lab does not hold NELAC/TNI accreditation for this parameter.
                 • SLO1 SED (Lab ID: 2042884004)
                     • Silicon




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        EPA 7470
    Description:   7470 Mercury
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for EPA 7470. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 7470 with any exceptions noted below.


    Initial Calibrations (including MS Tune as applicable):
    All criteria were within method requirements with any exceptions noted below.


    Continuing Calibration:
    All criteria were within method requirements with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                       PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:          EPA 7471
    Description:     7471 Mercury
    Client:          Black Warrior Riverkeeper
    Date:            December 15, 2016


    General Information:
    3 samples were analyzed for EPA 7471. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 7471 with any exceptions noted below.


    Initial Calibrations (including MS Tune as applicable):
    All criteria were within method requirements with any exceptions noted below.


    Continuing Calibration:
    All criteria were within method requirements with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.
    QC Batch: 63591
        A matrix spike and/or matrix spike duplicate (MS/MSD) were performed on the following sample(s): 35264841002
               M1: Matrix spike recovery exceeded QC limits. Batch accepted based on laboratory control sample (LCS) recovery.
                 • MS (Lab ID: 263802)
                    • Mercury
                 • MSD (Lab ID: 263803)
                    • Mercury
               R1: RPD value was outside control limits.
                 • MSD (Lab ID: 263803)
                    • Mercury


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:            Maxine Mine
    Pace Project No.:   2042884

    Method:        SM 2510B
    Description:   2510B Specific Conductance
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for SM 2510B. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        SM 2540C
    Description:   2540C Total Dissolved Solids
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for SM 2540C. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:            Maxine Mine
    Pace Project No.:   2042884

    Method:        SM 2540D
    Description:   2540D Total Suspended Solids
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for SM 2540D. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                     PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:         ASTM D4239-05
    Description:    ASTM D4239-05 Sulfur
    Client:         Black Warrior Riverkeeper
    Date:           December 15, 2016


    General Information:
    6 samples were analyzed for ASTM D4239-05. All samples were received in acceptable condition with any exceptions noted below or
    on the chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:
    Analyte Comments:

    QC Batch: 330128
               N2: The lab does not hold NELAC/TNI accreditation for this parameter.
                 • BCDS SED (Lab ID: 2042884006)
                     • Sulfur
                 • BCDS WATER (Lab ID: 2042884003)
                     • Sulfur
                 • DUP (Lab ID: 1829356)
                     • Sulfur
                 • REF1 SED (Lab ID: 2042884005)
                     • Sulfur
                 • REF1 WATER (Lab ID: 2042884002)
                     • Sulfur
                 • SLO1 SED (Lab ID: 2042884004)
                     • Sulfur
                 • SLO1 WATER (Lab ID: 2042884001)
                     • Sulfur




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                                                                   PROJECT NARRATIVE

    Project:            Maxine Mine
    Pace Project No.:   2042884

    Method:        Trivalent Chromium Calculation
    Description:   Trivalent Chromium Calculation
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for Trivalent Chromium Calculation. All samples were received in acceptable condition with any exceptions
    noted below or on the chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        EPA 351.2
    Description:   351.2 Total Kjeldahl Nitrogen
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    6 samples were analyzed for EPA 351.2. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 351.2 with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        EPA 365.4
    Description:   365.4 Total Phosphorus
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    6 samples were analyzed for EPA 365.4. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 365.4 with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        SM 4500-Cl-E
    Description:   4500 Chloride
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for SM 4500-Cl-E. All samples were received in acceptable condition with any exceptions noted below or on
    the chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                     PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:         SM 4500-NH3 D
    Description:    4500 Ammonia Soil, Distilled
    Client:         Black Warrior Riverkeeper
    Date:           December 15, 2016


    General Information:
    3 samples were analyzed for SM 4500-NH3 D. All samples were received in acceptable condition with any exceptions noted below or
    on the chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with SM 4500-NH3 B with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.
    QC Batch: 64562
               D6: The precision between the sample and sample duplicate exceeded laboratory control limits.
                 • DUP (Lab ID: 268217)
                    • Nitrogen, Ammonia


    Additional Comments:




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                                                                    PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:         SM 4500-NH3 G
    Description:    4500 Ammonia Water, Distilled
    Client:         Black Warrior Riverkeeper
    Date:           December 15, 2016


    General Information:
    3 samples were analyzed for SM 4500-NH3 G. All samples were received in acceptable condition with any exceptions noted below or
    on the chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with SM 4500-NH3 B with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.
    QC Batch: 64605
        A matrix spike and/or matrix spike duplicate (MS/MSD) were performed on the following sample(s): 2042888002
               M1: Matrix spike recovery exceeded QC limits. Batch accepted based on laboratory control sample (LCS) recovery.
                 • MS (Lab ID: 268350)
                    • Nitrogen, Ammonia


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        SM 4500-NO3 F
    Description:   SM4500NO3-F, NO3-NO2
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for SM 4500-NO3 F. All samples were received in acceptable condition with any exceptions noted below or
    on the chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with SM 4500-NO3 F with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        SM 4500-NO3 F
    Description:   4500NO3-F, NO3-NO2
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for SM 4500-NO3 F. All samples were received in acceptable condition with any exceptions noted below or
    on the chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        EPA 7196
    Description:   Chromium, Hexavalent, soluble
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for EPA 7196. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 7196 with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                    PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:         EPA 7196
    Description:    7196 Chromium, Hexavalent
    Client:         Black Warrior Riverkeeper
    Date:           December 15, 2016


    General Information:
    3 samples were analyzed for EPA 7196. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.
               H1: Analysis conducted outside the EPA method holding time.
                 • REF1 WATER (Lab ID: 2042884002)
                 • SLO1 WATER (Lab ID: 2042884001)


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.
    QC Batch: 63584
        A matrix spike and/or matrix spike duplicate (MS/MSD) were performed on the following sample(s): 2042884001
               M1: Matrix spike recovery exceeded QC limits. Batch accepted based on laboratory control sample (LCS) recovery.
                 • MS (Lab ID: 263783)
                    • Chromium, Hexavalent


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        EPA 9012
    Description:   9012 Cyanide, Total
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    6 samples were analyzed for EPA 9012. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 9010 with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        EPA 9038
    Description:   9038 Sulfate, Turbidimetric
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    2 samples were analyzed for EPA 9038. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 9038 with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                    PROJECT NARRATIVE

    Project:               Maxine Mine
    Pace Project No.:      2042884

    Method:         EPA 9065
    Description:    9065 Phenolics, Total
    Client:         Black Warrior Riverkeeper
    Date:           December 15, 2016


    General Information:
    6 samples were analyzed for EPA 9065. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 9065 with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.
    QC Batch: 63909
        A matrix spike and/or matrix spike duplicate (MS/MSD) were performed on the following sample(s): 40138499001
               M1: Matrix spike recovery exceeded QC limits. Batch accepted based on laboratory control sample (LCS) recovery.
                 • MS (Lab ID: 265285)
                    • Phenolics, Total Recoverable


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:             Maxine Mine
    Pace Project No.:    2042884

    Method:        EPA 9251
    Description:   9251 Chloride
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for EPA 9251. All samples were received in acceptable condition with any exceptions noted below or on the
    chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Sample Preparation:
    The samples were prepared in accordance with EPA 9251 with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:




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                                                                   PROJECT NARRATIVE

    Project:            Maxine Mine
    Pace Project No.:   2042884

    Method:        ASTM D516-90,02
    Description:   ASTM D516-9002 Sulfate Water
    Client:        Black Warrior Riverkeeper
    Date:          December 15, 2016


    General Information:
    3 samples were analyzed for ASTM D516-90,02. All samples were received in acceptable condition with any exceptions noted below or
    on the chain-of custody and/or the sample condition upon receipt form (SCUR) attached at the end of this report.


    Hold Time:
    The samples were analyzed within the method required hold times with any exceptions noted below.


    Method Blank:
    All analytes were below the report limit in the method blank, where applicable, with any exceptions noted below.


    Laboratory Control Spike:
    All laboratory control spike compounds were within QC limits with any exceptions noted below.


    Matrix Spikes:
    All percent recoveries and relative percent differences (RPDs) were within acceptance criteria with any exceptions noted below.


    Duplicate Sample:
    All duplicate sample results were within method acceptance criteria with any exceptions noted below.


    Additional Comments:

    This data package has been reviewed for quality and completeness and is approved for release.




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                                                           ANALYTICAL RESULTS

    Project:            Maxine Mine
    Pace Project No.:   2042884
   Sample: SLO1 WATER                  Lab ID: 2042884001           Collected: 09/20/16 10:45          Received: 09/21/16 08:20      Matrix: Water

                Parameters            Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   6020 MET ICPMS                     Analytical Method: EPA 6020 Preparation Method: EPA 3010

   Aluminum                                  247          mg/L                     0.10        1      09/26/16 08:37   09/27/16 21:26   7429-90-5
   Antimony                                  ND           mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-36-0
   Arsenic                                 0.010          mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-38-2
   Barium                                0.0075           mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-39-3
   Beryllium                               0.067          mg/L                    0.010       10      09/26/16 08:37   10/03/16 15:25   7440-41-7
   Boron                                    0.29          mg/L                  0.0050         1      09/26/16 08:37   09/27/16 21:26   7440-42-8
   Cadmium                               0.0013           mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-43-9
   Calcium                                   281          mg/L                       1.0      10      09/26/16 08:37   10/03/16 15:25   7440-70-2
   Chromium                                0.015          mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-47-3
   Cobalt                                   0.43          mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-48-4
   Copper                                    ND           mg/L                  0.0030         1      09/26/16 08:37   09/27/16 21:26   7440-50-8
   Iron                                      385          mg/L                     0.10        1      09/26/16 08:37   09/27/16 21:26   7439-89-6
   Lead                                      ND           mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7439-92-1
   Lithium                                    9.6         mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7439-93-2
   Magnesium                                 326          mg/L                       1.0      10      09/26/16 08:37   10/03/16 15:25   7439-95-4
   Manganese                                17.8          mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7439-96-5
   Molybdenum                                ND           mg/L                  0.0030         1      09/26/16 08:37   09/27/16 21:26   7439-98-7
   Nickel                                   0.81          mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-02-0
   Potassium                                  3.8         mg/L                     0.10        1      09/26/16 08:37   09/27/16 21:26   7440-09-7
   Selenium                              0.0040           mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7782-49-2
   Silicon                                  35.3          mg/L                    0.050        1      09/26/16 08:37   09/27/16 21:26   7440-21-3
   Silver                                    ND           mg/L                 0.00050         1      09/26/16 08:37   09/27/16 21:26   7440-22-4
   Sodium                                   43.8          mg/L                     0.10        1      09/26/16 08:37   09/27/16 21:26   7440-23-5
   Strontium                               0.072          mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-24-6
   Thallium                             0.00056           mg/L                 0.00050         1      09/26/16 08:37   09/27/16 21:26   7440-28-0
   Tin                                       ND           mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-31-5
   Titanium                                  ND           mg/L                  0.0010         1      09/26/16 08:37   09/27/16 21:26   7440-32-6
   Vanadium                                0.018          mg/L                  0.0050         1      09/26/16 08:37   09/27/16 21:26   7440-62-2
   Zinc                                       1.5         mg/L                  0.0050         1      09/26/16 08:37   09/27/16 21:26   7440-66-6

   7470 Mercury                       Analytical Method: EPA 7470 Preparation Method: EPA 7470

   Mercury                                   ND           ug/L                      0.20      1       09/22/16 10:45 09/22/16 14:37 7439-97-6

   2510B Specific Conductance         Analytical Method: SM 2510B

   Specific Conductance                    5370       umhos/cm                       1.0      1                        09/23/16 15:20

   2540C Total Dissolved Solids       Analytical Method: SM 2540C

   Total Dissolved Solids                  8710           mg/L                      20.0      1                        09/23/16 14:51

   2540D Total Suspended Solids       Analytical Method: SM 2540D

   Total Suspended Solids                   27.0          mg/L                       4.0      1                        09/22/16 10:43

   ASTM D4239-05 Sulfur               Analytical Method: ASTM D4239-05

   Sulfur                                  0.136        % (w/w)                   0.020       1                        09/23/16 14:10                  N2




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                                                            ANALYTICAL RESULTS

    Project:             Maxine Mine
    Pace Project No.:    2042884
   Sample: SLO1 WATER                   Lab ID: 2042884001           Collected: 09/20/16 10:45          Received: 09/21/16 08:20      Matrix: Water

                 Parameters            Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   Trivalent Chromium Calculation      Analytical Method: Trivalent Chromium Calculation

   Chromium, Trivalent                        ND           mg/L                    0.010       1                        10/04/16 00:00 16065-83-1

   351.2 Total Kjeldahl Nitrogen       Analytical Method: EPA 351.2 Preparation Method: EPA 351.2

   Nitrogen, Kjeldahl, Total                  5.0          mg/L                      0.10      1       09/28/16 15:39 09/30/16 11:19 7727-37-9

   365.4 Total Phosphorus              Analytical Method: EPA 365.4 Preparation Method: EPA 365.4

   Phosphorus                                 ND           mg/L                    0.050       1       09/28/16 09:58 10/03/16 10:50 7723-14-0

   4500 Chloride                       Analytical Method: SM 4500-Cl-E

   Chloride                                   1.5          mg/L                       1.0      1                        09/22/16 14:41 16887-00-6

   4500 Ammonia Water, Distilled       Analytical Method: SM 4500-NH3 G Preparation Method: SM 4500-NH3 B

   Nitrogen, Ammonia                          4.1          mg/L                      0.10      1       10/04/16 09:30 10/04/16 13:29 7664-41-7

   4500NO3-F, NO3-NO2                  Analytical Method: SM 4500-NO3 F

   Nitrogen, NO2 plus NO3                   0.099          mg/L                    0.050       1                        10/05/16 17:56

   7196 Chromium, Hexavalent           Analytical Method: EPA 7196

   Chromium, Hexavalent                       ND           mg/L                    0.010       1                        09/21/16 15:59 18540-29-9       H1,M1

   9012 Cyanide, Total                 Analytical Method: EPA 9012 Preparation Method: EPA 9010

   Cyanide                                    ND           mg/L                    0.010       1       09/22/16 14:45 09/24/16 11:24 57-12-5

   9065 Phenolics, Total               Analytical Method: EPA 9065 Preparation Method: EPA 9065

   Phenolics, Total Recoverable               ND           mg/L                   0.0060       1       09/23/16 10:30 09/23/16 14:45

   ASTM D516-9002 Sulfate Water        Analytical Method: ASTM D516-90,02

   Sulfate                                  6020           mg/L                      500      500                       09/22/16 16:48 14808-79-8       M6


   Sample: REF1 WATER                   Lab ID: 2042884002           Collected: 09/20/16 12:15          Received: 09/21/16 08:20      Matrix: Water

                 Parameters            Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   6020 MET ICPMS                      Analytical Method: EPA 6020 Preparation Method: EPA 3010

   Aluminum                                   ND           mg/L                      0.10      1       09/26/16 08:37   09/27/16 21:29   7429-90-5
   Antimony                                   ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:29   7440-36-0
   Arsenic                                 0.0015          mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:29   7440-38-2
   Barium                                   0.033          mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:29   7440-39-3
   Beryllium                                  ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:29   7440-41-7
   Boron                                    0.021          mg/L                   0.0050       1       09/26/16 08:37   09/27/16 21:29   7440-42-8
   Cadmium                                    ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:29   7440-43-9
   Calcium                                     3.2         mg/L                      0.10      1       09/26/16 08:37   09/27/16 21:29   7440-70-2
   Chromium                                   ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:29   7440-47-3
   Cobalt                                  0.0011          mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:29   7440-48-4



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                                                            ANALYTICAL RESULTS

    Project:             Maxine Mine
    Pace Project No.:    2042884
   Sample: REF1 WATER                   Lab ID: 2042884002           Collected: 09/20/16 12:15          Received: 09/21/16 08:20      Matrix: Water

                 Parameters            Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   6020 MET ICPMS                      Analytical Method: EPA 6020 Preparation Method: EPA 3010

   Copper                                      ND          mg/L                  0.0030        1       09/26/16 08:37   09/27/16 21:29   7440-50-8
   Iron                                        3.8         mg/L                     0.10       1       09/26/16 08:37   09/27/16 21:29   7439-89-6
   Lead                                        ND          mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:29   7439-92-1
   Lithium                                     ND          mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:29   7439-93-2
   Magnesium                                   2.3         mg/L                     0.10       1       09/26/16 08:37   09/27/16 21:29   7439-95-4
   Manganese                                  0.63         mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:29   7439-96-5
   Molybdenum                                  ND          mg/L                  0.0030        1       09/26/16 08:37   09/27/16 21:29   7439-98-7
   Nickel                                  0.0014          mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:29   7440-02-0
   Potassium                                   1.9         mg/L                     0.10       1       09/26/16 08:37   09/27/16 21:29   7440-09-7
   Selenium                                    ND          mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:29   7782-49-2
   Silicon                                     1.0         mg/L                    0.050       1       09/26/16 08:37   09/27/16 21:29   7440-21-3
   Silver                                      ND          mg/L                 0.00050        1       09/26/16 08:37   09/27/16 21:29   7440-22-4
   Sodium                                      2.2         mg/L                     0.10       1       09/26/16 08:37   09/27/16 21:29   7440-23-5
   Strontium                                0.022          mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:29   7440-24-6
   Thallium                                    ND          mg/L                 0.00050        1       09/26/16 08:37   09/27/16 21:29   7440-28-0
   Tin                                         ND          mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:29   7440-31-5
   Titanium                                0.0015          mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:29   7440-32-6
   Vanadium                                    ND          mg/L                  0.0050        1       09/26/16 08:37   09/27/16 21:29   7440-62-2
   Zinc                                        ND          mg/L                  0.0050        1       09/26/16 08:37   09/27/16 21:29   7440-66-6

   7470 Mercury                        Analytical Method: EPA 7470 Preparation Method: EPA 7470

   Mercury                                    ND           ug/L                      0.20      1       09/22/16 10:45 09/22/16 14:43 7439-97-6

   2510B Specific Conductance          Analytical Method: SM 2510B

   Specific Conductance                      95.0      umhos/cm                       1.0      1                        09/23/16 15:19

   2540C Total Dissolved Solids        Analytical Method: SM 2540C

   Total Dissolved Solids                    15.0          mg/L                      10.0      1                        09/23/16 14:52

   2540D Total Suspended Solids        Analytical Method: SM 2540D

   Total Suspended Solids                    22.0          mg/L                       4.0      1                        09/22/16 10:45

   ASTM D4239-05 Sulfur                Analytical Method: ASTM D4239-05

   Sulfur                                     ND         % (w/w)                   0.020       1                        09/23/16 14:10                  N2

   Trivalent Chromium Calculation      Analytical Method: Trivalent Chromium Calculation

   Chromium, Trivalent                        ND           mg/L                    0.010       1                        10/04/16 00:00 16065-83-1

   351.2 Total Kjeldahl Nitrogen       Analytical Method: EPA 351.2 Preparation Method: EPA 351.2

   Nitrogen, Kjeldahl, Total                  1.4          mg/L                      0.10      1       09/28/16 15:39 09/30/16 11:21 7727-37-9

   365.4 Total Phosphorus              Analytical Method: EPA 365.4 Preparation Method: EPA 365.4

   Phosphorus                               0.091          mg/L                    0.050       1       09/28/16 09:58 10/03/16 10:51 7723-14-0




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                                                            ANALYTICAL RESULTS

    Project:             Maxine Mine
    Pace Project No.:    2042884
   Sample: REF1 WATER                   Lab ID: 2042884002           Collected: 09/20/16 12:15          Received: 09/21/16 08:20      Matrix: Water

                Parameters             Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   4500 Chloride                       Analytical Method: SM 4500-Cl-E

   Chloride                                   2.9          mg/L                       1.0      1                        09/22/16 14:41 16887-00-6

   4500 Ammonia Water, Distilled       Analytical Method: SM 4500-NH3 G Preparation Method: SM 4500-NH3 B

   Nitrogen, Ammonia                         0.51          mg/L                      0.10      1       10/04/16 09:30 10/04/16 13:30 7664-41-7

   4500NO3-F, NO3-NO2                  Analytical Method: SM 4500-NO3 F

   Nitrogen, NO2 plus NO3                    0.10          mg/L                    0.050       1                        10/05/16 17:57

   7196 Chromium, Hexavalent           Analytical Method: EPA 7196

   Chromium, Hexavalent                       ND           mg/L                    0.010       1                        09/21/16 15:22 18540-29-9       H1

   9012 Cyanide, Total                 Analytical Method: EPA 9012 Preparation Method: EPA 9010

   Cyanide                                    ND           mg/L                    0.010       1       09/22/16 14:45 09/24/16 11:25 57-12-5

   9065 Phenolics, Total               Analytical Method: EPA 9065 Preparation Method: EPA 9065

   Phenolics, Total Recoverable               ND           mg/L                    0.060       10      09/23/16 10:30 09/23/16 14:45

   ASTM D516-9002 Sulfate Water        Analytical Method: ASTM D516-90,02

   Sulfate                                    2.4          mg/L                       1.0      1                        09/22/16 14:44 14808-79-8


   Sample: BCDS WATER                   Lab ID: 2042884003           Collected: 09/20/16 15:30          Received: 09/21/16 08:20      Matrix: Water

                Parameters             Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   6020 MET ICPMS                      Analytical Method: EPA 6020 Preparation Method: EPA 3010

   Aluminum                                   ND           mg/L                      0.10      1       09/26/16 08:37   09/27/16 21:33   7429-90-5
   Antimony                                   ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7440-36-0
   Arsenic                                    ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7440-38-2
   Barium                                   0.016          mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7440-39-3
   Beryllium                                  ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7440-41-7
   Boron                                    0.047          mg/L                   0.0050       1       09/26/16 08:37   09/27/16 21:33   7440-42-8
   Cadmium                                    ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7440-43-9
   Calcium                                   78.6          mg/L                      0.10      1       09/26/16 08:37   09/27/16 21:33   7440-70-2
   Chromium                                   ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7440-47-3
   Cobalt                                     ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7440-48-4
   Copper                                     ND           mg/L                   0.0030       1       09/26/16 08:37   09/27/16 21:33   7440-50-8
   Iron                                        1.0         mg/L                      0.10      1       09/26/16 08:37   09/27/16 21:33   7439-89-6
   Lead                                       ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7439-92-1
   Lithium                                  0.099          mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7439-93-2
   Magnesium                                 27.6          mg/L                      0.10      1       09/26/16 08:37   09/27/16 21:33   7439-95-4
   Manganese                                 0.15          mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7439-96-5
   Molybdenum                                 ND           mg/L                   0.0030       1       09/26/16 08:37   09/27/16 21:33   7439-98-7
   Nickel                                     ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7440-02-0
   Potassium                                   2.7         mg/L                      0.10      1       09/26/16 08:37   09/27/16 21:33   7440-09-7
   Selenium                                   ND           mg/L                   0.0010       1       09/26/16 08:37   09/27/16 21:33   7782-49-2


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                                                            ANALYTICAL RESULTS

    Project:             Maxine Mine
    Pace Project No.:    2042884
   Sample: BCDS WATER                   Lab ID: 2042884003           Collected: 09/20/16 15:30          Received: 09/21/16 08:20      Matrix: Water

                 Parameters            Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   6020 MET ICPMS                      Analytical Method: EPA 6020 Preparation Method: EPA 3010

   Silicon                                    5.9          mg/L                    0.050       1       09/26/16 08:37   09/27/16 21:33   7440-21-3
   Silver                                     ND           mg/L                 0.00050        1       09/26/16 08:37   09/27/16 21:33   7440-22-4
   Sodium                                     148          mg/L                     0.10       1       09/26/16 08:37   09/27/16 21:33   7440-23-5
   Strontium                                  1.1          mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:33   7440-24-6
   Thallium                                   ND           mg/L                 0.00050        1       09/26/16 08:37   09/27/16 21:33   7440-28-0
   Tin                                        ND           mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:33   7440-31-5
   Titanium                                   ND           mg/L                  0.0010        1       09/26/16 08:37   09/27/16 21:33   7440-32-6
   Vanadium                                   ND           mg/L                  0.0050        1       09/26/16 08:37   09/27/16 21:33   7440-62-2
   Zinc                                       ND           mg/L                  0.0050        1       09/26/16 08:37   09/27/16 21:33   7440-66-6

   7470 Mercury                        Analytical Method: EPA 7470 Preparation Method: EPA 7470

   Mercury                                    ND           ug/L                      0.20      1       09/22/16 10:45 09/22/16 14:45 7439-97-6

   2510B Specific Conductance          Analytical Method: SM 2510B

   Specific Conductance                     1320       umhos/cm                       1.0      1                        09/23/16 15:19

   2540C Total Dissolved Solids        Analytical Method: SM 2540C

   Total Dissolved Solids                     825          mg/L                      10.0      1                        09/23/16 14:52

   2540D Total Suspended Solids        Analytical Method: SM 2540D

   Total Suspended Solids                     ND           mg/L                       4.0      1                        09/22/16 10:45

   ASTM D4239-05 Sulfur                Analytical Method: ASTM D4239-05

   Sulfur                                     ND         % (w/w)                   0.020       1                        09/23/16 14:10                  N2

   Trivalent Chromium Calculation      Analytical Method: Trivalent Chromium Calculation

   Chromium, Trivalent                        ND           mg/L                    0.010       1                        10/04/16 00:00 16065-83-1

   351.2 Total Kjeldahl Nitrogen       Analytical Method: EPA 351.2 Preparation Method: EPA 351.2

   Nitrogen, Kjeldahl, Total                 0.28          mg/L                      0.10      1       09/28/16 15:39 09/30/16 11:21 7727-37-9

   365.4 Total Phosphorus              Analytical Method: EPA 365.4 Preparation Method: EPA 365.4

   Phosphorus                                 ND           mg/L                    0.050       1       09/28/16 09:58 10/03/16 10:53 7723-14-0

   4500 Chloride                       Analytical Method: SM 4500-Cl-E

   Chloride                                   4.5          mg/L                       1.0      1                        09/22/16 14:41 16887-00-6

   4500 Ammonia Water, Distilled       Analytical Method: SM 4500-NH3 G Preparation Method: SM 4500-NH3 B

   Nitrogen, Ammonia                         0.24          mg/L                      0.10      1       10/04/16 09:30 10/04/16 13:32 7664-41-7

   4500NO3-F, NO3-NO2                  Analytical Method: SM 4500-NO3 F

   Nitrogen, NO2 plus NO3                    0.36          mg/L                    0.050       1                        10/05/16 17:58

   7196 Chromium, Hexavalent           Analytical Method: EPA 7196

   Chromium, Hexavalent                       ND           mg/L                    0.010       1                        09/21/16 15:22 18540-29-9



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                                                              ANALYTICAL RESULTS

    Project:             Maxine Mine
    Pace Project No.:    2042884
   Sample: BCDS WATER                     Lab ID: 2042884003           Collected: 09/20/16 15:30          Received: 09/21/16 08:20      Matrix: Water

                Parameters               Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   9012 Cyanide, Total                  Analytical Method: EPA 9012 Preparation Method: EPA 9010

   Cyanide                                      ND           mg/L                    0.010       1       09/22/16 14:45 09/24/16 11:25 57-12-5

   9065 Phenolics, Total                Analytical Method: EPA 9065 Preparation Method: EPA 9065

   Phenolics, Total Recoverable                 ND           mg/L                    0.060       10      09/23/16 10:30 09/23/16 14:46

   ASTM D516-9002 Sulfate Water         Analytical Method: ASTM D516-90,02

   Sulfate                                      436          mg/L                      50.0      50                       09/22/16 16:01 14808-79-8


   Sample: SLO1 SED                       Lab ID: 2042884004           Collected: 09/20/16 10:45          Received: 09/21/16 08:20      Matrix: Solid
   Results reported on a "wet-weight" basis
                Parameters               Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   6020 MET ICPMS                       Analytical Method: EPA 6020 Preparation Method: EPA 3050

   Aluminum                                    2780         mg/kg                      26.6      1       09/22/16 10:16   09/27/16 09:57   7429-90-5
   Antimony                                      ND         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-36-0
   Arsenic                                     63.6         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-38-2
   Barium                                       109         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-39-3
   Beryllium                                   0.30         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-41-7
   Boron                                         3.2        mg/kg                       1.3      1       09/22/16 10:16   09/27/16 09:57   7440-42-8
   Cadmium                                       ND         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-43-9
   Calcium                                      394         mg/kg                      26.6      1       09/22/16 10:16   09/27/16 09:57   7440-70-2
   Chromium                                      6.4        mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-47-3
   Cobalt                                        1.4        mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-48-4
   Copper                                      13.4         mg/kg                       1.3      1       09/22/16 10:16   09/27/16 09:57   7440-50-8
   Iron                                       33500         mg/kg                      26.6      1       09/22/16 10:16   09/27/16 09:57   7439-89-6
   Lead                                         11.2        mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7439-92-1
   Lithium                                       6.3        mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7439-93-2
   Magnesium                                    510         mg/kg                      26.6      1       09/22/16 10:16   09/27/16 09:57   7439-95-4
   Manganese                                   34.5         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7439-96-5
   Molybdenum                                    4.4        mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7439-98-7
   Nickel                                        4.0        mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-02-0
   Potassium                                   1070         mg/kg                      26.6      1       09/22/16 10:16   09/27/16 09:57   7440-09-7
   Selenium                                      2.3        mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7782-49-2
   Silicon                                      696         mg/kg                      66.5      1       09/22/16 10:16   09/27/16 09:57   7440-21-3      N2
   Silver                                        ND         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-22-4
   Sodium                                       460         mg/kg                      26.6      1       09/22/16 10:16   09/27/16 09:57   7440-23-5
   Strontium                                   18.3         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-24-6
   Thallium                                    0.35         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-28-0
   Tin                                           ND         mg/kg                      0.27      1       09/22/16 10:16   09/27/16 09:57   7440-31-5
   Titanium                                    23.7         mg/kg                       1.3      1       09/22/16 10:16   09/27/16 09:57   7440-32-6
   Vanadium                                    16.1         mg/kg                       1.3      1       09/22/16 10:16   09/27/16 09:57   7440-62-2
   Zinc                                        10.5         mg/kg                       1.3      1       09/22/16 10:16   09/27/16 09:57   7440-66-6




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                                                              ANALYTICAL RESULTS

    Project:             Maxine Mine
    Pace Project No.:    2042884
   Sample: SLO1 SED                       Lab ID: 2042884004           Collected: 09/20/16 10:45          Received: 09/21/16 08:20      Matrix: Solid
   Results reported on a "wet-weight" basis
                 Parameters              Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   7471 Mercury                         Analytical Method: EPA 7471 Preparation Method: EPA 7471

   Mercury                                     0.29         mg/kg                    0.013       1       09/21/16 15:38 09/22/16 08:40 7439-97-6

   ASTM D4239-05 Sulfur                 Analytical Method: ASTM D4239-05

   Sulfur                                     0.623        % (w/w)                   0.020       1                        09/23/16 14:10                  N2

   351.2 Total Kjeldahl Nitrogen        Analytical Method: EPA 351.2 Preparation Method: EPA 351.2

   Nitrogen, Kjeldahl, Total                  1530          mg/kg                      297       6       09/28/16 15:39 09/29/16 19:22 7727-37-9

   365.4 Total Phosphorus               Analytical Method: EPA 365.4 Preparation Method: EPA 365.4

   Phosphorus                                  127          mg/kg                       9.9      1       09/28/16 09:58 10/03/16 10:36 7723-14-0

   4500 Ammonia Soil, Distilled         Analytical Method: SM 4500-NH3 D Preparation Method: SM 4500-NH3 B

   Nitrogen, Ammonia                           105          mg/kg                      50.0      10      10/03/16 16:32 10/04/16 13:05 7664-41-7          D6

   SM4500NO3-F, NO3-NO2                 Analytical Method: SM 4500-NO3 F Preparation Method: SM 4500-NO3 F

   Nitrogen, NO2 plus NO3                       ND          mg/kg                      0.48      1       09/24/16 11:27 09/25/16 18:06

   Chromium, Hexavalent, soluble        Analytical Method: EPA 7196 Preparation Method: EPA 7196

   Chromium, Hexavalent                         ND          mg/kg                      0.96      10      09/24/16 11:27 09/24/16 12:30 18540-29-9

   9012 Cyanide, Total                  Analytical Method: EPA 9012 Preparation Method: EPA 9010

   Cyanide                                      ND          mg/kg                       1.0      1       09/22/16 14:45 09/24/16 11:36 57-12-5

   9038 Sulfate, Turbidimetric          Analytical Method: EPA 9038 Preparation Method: EPA 9038

   Sulfate                                    3530          mg/kg                      481       10      09/24/16 11:27 09/24/16 12:32 14808-79-8

   9065 Phenolics, Total                Analytical Method: EPA 9065 Preparation Method: EPA 9065

   Phenolics, Total Recoverable                 1.6         mg/kg                      0.15      1       09/26/16 09:12 09/27/16 14:28

   9251 Chloride                        Analytical Method: EPA 9251 Preparation Method: EPA 9251

   Chloride                                    123          mg/kg                      96.2      10      09/24/16 11:27 09/24/16 12:37 16887-00-6


   Sample: REF1 SED                       Lab ID: 2042884005           Collected: 09/20/16 12:15          Received: 09/21/16 08:20      Matrix: Solid
   Results reported on a "wet-weight" basis
                 Parameters              Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   6020 MET ICPMS                       Analytical Method: EPA 6020 Preparation Method: EPA 3050

   Aluminum                                   3690          mg/kg                      32.9      1       09/22/16 10:16   09/27/16 10:01   7429-90-5
   Antimony                                    ND           mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-36-0
   Arsenic                                     1.8          mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-38-2
   Barium                                     53.6          mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-39-3
   Beryllium                                   ND           mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-41-7



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                                                              ANALYTICAL RESULTS

    Project:             Maxine Mine
    Pace Project No.:    2042884
   Sample: REF1 SED                       Lab ID: 2042884005           Collected: 09/20/16 12:15          Received: 09/21/16 08:20      Matrix: Solid
   Results reported on a "wet-weight" basis
                 Parameters              Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   6020 MET ICPMS                       Analytical Method: EPA 6020 Preparation Method: EPA 3050

   Boron                                        ND          mg/kg                       1.6      1       09/22/16 10:16   09/27/16 10:01   7440-42-8
   Cadmium                                      ND          mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-43-9
   Calcium                                      279         mg/kg                      32.9      1       09/22/16 10:16   09/27/16 10:01   7440-70-2
   Chromium                                     4.2         mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-47-3
   Cobalt                                       3.8         mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-48-4
   Copper                                       5.0         mg/kg                       1.6      1       09/22/16 10:16   09/27/16 10:01   7440-50-8
   Iron                                        6740         mg/kg                      32.9      1       09/22/16 10:16   09/27/16 10:01   7439-89-6
   Lead                                         6.0         mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7439-92-1
   Lithium                                      4.2         mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7439-93-2
   Magnesium                                    328         mg/kg                      32.9      1       09/22/16 10:16   09/27/16 10:01   7439-95-4
   Manganese                                   88.2         mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7439-96-5
   Molybdenum                                   ND          mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7439-98-7
   Nickel                                       5.6         mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-02-0
   Potassium                                    307         mg/kg                      32.9      1       09/22/16 10:16   09/27/16 10:01   7440-09-7
   Selenium                                    0.33         mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7782-49-2
   Silicon                                     1040         mg/kg                      82.2      1       09/22/16 10:16   09/27/16 10:01   7440-21-3      N2
   Silver                                       ND          mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-22-4
   Sodium                                       ND          mg/kg                      32.9      1       09/22/16 10:16   09/27/16 10:01   7440-23-5
   Strontium                                    2.5         mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-24-6
   Thallium                                     ND          mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-28-0
   Tin                                          ND          mg/kg                      0.33      1       09/22/16 10:16   09/27/16 10:01   7440-31-5
   Titanium                                    28.5         mg/kg                       1.6      1       09/22/16 10:16   09/27/16 10:01   7440-32-6
   Vanadium                                     6.9         mg/kg                       1.6      1       09/22/16 10:16   09/27/16 10:01   7440-62-2
   Zinc                                        18.4         mg/kg                       1.6      1       09/22/16 10:16   09/27/16 10:01   7440-66-6

   7471 Mercury                         Analytical Method: EPA 7471 Preparation Method: EPA 7471

   Mercury                                     0.036        mg/kg                    0.018       1       09/21/16 15:38 09/22/16 08:42 7439-97-6

   ASTM D4239-05 Sulfur                 Analytical Method: ASTM D4239-05

   Sulfur                                     0.0531       % (w/w)                   0.020       1                        09/23/16 14:10                  N2

   351.2 Total Kjeldahl Nitrogen        Analytical Method: EPA 351.2 Preparation Method: EPA 351.2

   Nitrogen, Kjeldahl, Total                    927         mg/kg                      48.2      1       09/28/16 15:39 09/29/16 18:41 7727-37-9

   365.4 Total Phosphorus               Analytical Method: EPA 365.4 Preparation Method: EPA 365.4

   Phosphorus                                   114         mg/kg                       9.6      1       09/28/16 09:58 10/03/16 10:36 7723-14-0

   4500 Ammonia Soil, Distilled         Analytical Method: SM 4500-NH3 D Preparation Method: SM 4500-NH3 B

   Nitrogen, Ammonia                            78.0        mg/kg                      50.0      10      10/03/16 16:32 10/04/16 13:09 7664-41-7

   SM4500NO3-F, NO3-NO2                 Analytical Method: SM 4500-NO3 F Preparation Method: SM 4500-NO3 F

   Nitrogen, NO2 plus NO3                        ND         mg/kg                      0.40      1       09/24/16 11:27 09/25/16 18:09

   Chromium, Hexavalent, soluble        Analytical Method: EPA 7196 Preparation Method: EPA 7196

   Chromium, Hexavalent                          ND         mg/kg                      0.81      10      09/24/16 11:27 09/24/16 12:30 18540-29-9



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                                                                                                                                                        (504)469-0333




                                                              ANALYTICAL RESULTS

    Project:             Maxine Mine
    Pace Project No.:    2042884
   Sample: REF1 SED                       Lab ID: 2042884005           Collected: 09/20/16 12:15          Received: 09/21/16 08:20      Matrix: Solid
   Results reported on a "wet-weight" basis
                Parameters               Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.           Qual

   9012 Cyanide, Total                  Analytical Method: EPA 9012 Preparation Method: EPA 9010

   Cyanide                                      ND          mg/kg                       1.0      1       09/22/16 14:45 09/24/16 11:24 57-12-5

   9038 Sulfate, Turbidimetric          Analytical Method: EPA 9038 Preparation Method: EPA 9038

   Sulfate                                      ND          mg/kg                      403       10      09/24/16 11:27 09/24/16 12:32 14808-79-8

   9065 Phenolics, Total                Analytical Method: EPA 9065 Preparation Method: EPA 9065

   Phenolics, Total Recoverable                 ND          mg/kg                      0.15      1       09/26/16 09:12 09/27/16 14:35

   9251 Chloride                        Analytical Method: EPA 9251 Preparation Method: EPA 9251

   Chloride                                     274         mg/kg                      80.6      10      09/24/16 11:27 09/24/16 12:37 16887-00-6


   Sample: BCDS SED                       Lab ID: 2042884006           Collected: 09/20/16 15:30          Received: 09/21/16 08:20      Matrix: Solid
   Results reported on a "wet-weight" basis
                Parameters               Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.           Qual

   6020 MET ICPMS                       Analytical Method: EPA 6020 Preparation Method: EPA 3050

   Aluminum                                     868         mg/kg                      18.7      1       09/22/16 10:16   09/27/16 10:05   7429-90-5
   Antimony                                     ND          mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-36-0
   Arsenic                                     24.4         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-38-2
   Barium                                      39.1         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-39-3
   Beryllium                                   0.31         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-41-7
   Boron                                        1.4         mg/kg                      0.93      1       09/22/16 10:16   09/27/16 10:05   7440-42-8
   Cadmium                                      ND          mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-43-9
   Calcium                                     2710         mg/kg                      18.7      1       09/22/16 10:16   09/27/16 10:05   7440-70-2
   Chromium                                     2.6         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-47-3
   Cobalt                                       4.4         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-48-4
   Copper                                       1.7         mg/kg                      0.93      1       09/22/16 10:16   09/27/16 10:05   7440-50-8
   Iron                                       70300         mg/kg                      18.7      1       09/22/16 10:16   09/27/16 10:05   7439-89-6
   Lead                                         1.7         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7439-92-1
   Lithium                                      2.3         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7439-93-2
   Magnesium                                    375         mg/kg                      18.7      1       09/22/16 10:16   09/27/16 10:05   7439-95-4
   Manganese                                   1930         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7439-96-5
   Molybdenum                                  0.69         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7439-98-7
   Nickel                                       3.7         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-02-0
   Potassium                                    118         mg/kg                      18.7      1       09/22/16 10:16   09/27/16 10:05   7440-09-7      B
   Selenium                                     ND          mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7782-49-2
   Silicon                                     3680         mg/kg                      46.6      1       09/22/16 10:16   09/27/16 10:05   7440-21-3      N2
   Silver                                       ND          mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-22-4
   Sodium                                       169         mg/kg                      18.7      1       09/22/16 10:16   09/27/16 10:05   7440-23-5
   Strontium                                   70.4         mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-24-6
   Thallium                                     ND          mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-28-0
   Tin                                          ND          mg/kg                      0.19      1       09/22/16 10:16   09/27/16 10:05   7440-31-5
   Titanium                                     7.2         mg/kg                      0.93      1       09/22/16 10:16   09/27/16 10:05   7440-32-6




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                                                              ANALYTICAL RESULTS

    Project:             Maxine Mine
    Pace Project No.:    2042884
   Sample: BCDS SED                       Lab ID: 2042884006           Collected: 09/20/16 15:30          Received: 09/21/16 08:20      Matrix: Solid
   Results reported on a "wet-weight" basis
                 Parameters              Results            Units           Report Limit        DF             Prepared      Analyzed       CAS No.          Qual

   6020 MET ICPMS                       Analytical Method: EPA 6020 Preparation Method: EPA 3050

   Vanadium                                     3.0         mg/kg                      0.93      1       09/22/16 10:16 09/27/16 10:05 7440-62-2
   Zinc                                         5.9         mg/kg                      0.93      1       09/22/16 10:16 09/27/16 10:05 7440-66-6

   7471 Mercury                         Analytical Method: EPA 7471 Preparation Method: EPA 7471

   Mercury                                    0.027         mg/kg                    0.011       1       09/21/16 15:38 09/22/16 08:44 7439-97-6

   ASTM D4239-05 Sulfur                 Analytical Method: ASTM D4239-05

   Sulfur                                       ND         % (w/w)                   0.020       1                        09/23/16 14:10                  N2

   351.2 Total Kjeldahl Nitrogen        Analytical Method: EPA 351.2 Preparation Method: EPA 351.2

   Nitrogen, Kjeldahl, Total                   207          mg/kg                      49.7      1       09/28/16 15:39 09/29/16 18:43 7727-37-9

   365.4 Total Phosphorus               Analytical Method: EPA 365.4 Preparation Method: EPA 365.4

   Phosphorus                                  73.1         mg/kg                       9.9      1       09/28/16 09:58 10/03/16 10:37 7723-14-0

   4500 Ammonia Soil, Distilled         Analytical Method: SM 4500-NH3 D Preparation Method: SM 4500-NH3 B

   Nitrogen, Ammonia                           239          mg/kg                      50.0      10      10/03/16 16:32 10/04/16 13:11 7664-41-7

   SM4500NO3-F, NO3-NO2                 Analytical Method: SM 4500-NO3 F Preparation Method: SM 4500-NO3 F

   Nitrogen, NO2 plus NO3                       3.5         mg/kg                      0.50      1       09/24/16 11:27 09/25/16 18:10

   Chromium, Hexavalent, soluble        Analytical Method: EPA 7196 Preparation Method: EPA 7196

   Chromium, Hexavalent                         ND          mg/kg                       1.0      10      09/24/16 11:27 09/24/16 12:30 18540-29-9

   9012 Cyanide, Total                  Analytical Method: EPA 9012 Preparation Method: EPA 9010

   Cyanide                                      ND          mg/kg                       1.0      1       09/22/16 14:45 09/24/16 11:24 57-12-5

   9065 Phenolics, Total                Analytical Method: EPA 9065 Preparation Method: EPA 9065

   Phenolics, Total Recoverable                0.52         mg/kg                      0.15      1       09/26/16 09:12 09/27/16 14:35

   9251 Chloride                        Analytical Method: EPA 9251 Preparation Method: EPA 9251

   Chloride                                   1480          mg/kg                      100       10      09/24/16 11:27 09/24/16 12:37 16887-00-6




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63527                                              Analysis Method:                    EPA 7470
    QC Batch Method:         EPA 7470                                           Analysis Description:               7470 Mercury
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          263572                                                        Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                            Reporting
                  Parameter                          Units         Result                              Limit               Analyzed              Qualifiers
    Mercury                                                 ug/L                             ND                  0.20    09/22/16 14:21



    LABORATORY CONTROL SAMPLE:                      263573
                                                                              Spike                LCS                   LCS             % Rec
                  Parameter                                Units              Conc.               Result                % Rec            Limits            Qualifiers
    Mercury                                                 ug/L                         1                 1.0                  100           80-120



    MATRIX SPIKE & MATRIX SPIKE DUPLICATE:                         263574                                263575
                                                                             MS              MSD
                                                        2042749007          Spike            Spike          MS           MSD           MS          MSD          % Rec           Max
               Parameter                      Units        Result           Conc.            Conc.         Result        Result       % Rec        % Rec        Limits      RPD RPD          Qual
   Mercury                                    ug/L                   ND              1               1           0.97       0.97            96            96      75-125          0    20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63591                                              Analysis Method:                   EPA 7471
    QC Batch Method:         EPA 7471                                           Analysis Description:              7471 Mercury
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          263800                                                       Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                  Parameter                          Units         Result                             Limit               Analyzed                Qualifiers
    Mercury                                                mg/kg                           ND               0.020       09/22/16 08:07



    LABORATORY CONTROL SAMPLE:                      263801
                                                                              Spike              LCS                    LCS              % Rec
                  Parameter                                Units              Conc.             Result                 % Rec             Limits            Qualifiers
    Mercury                                                mg/kg                      .1                 0.11                  106            80-120



    MATRIX SPIKE & MATRIX SPIKE DUPLICATE:                        263802                               263803
                                                                             MS            MSD
                                                       35264841002          Spike          Spike          MS            MSD           MS           MSD          % Rec           Max
               Parameter                      Units        Result           Conc.          Conc.         Result         Result       % Rec         % Rec        Limits      RPD RPD          Qual
   Mercury                                   mg/kg                 0.37          .099            .08            0.36        0.49             -4          160      75-125          31    20 M1,R1




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63657                                              Analysis Method:                  EPA 6020
    QC Batch Method:         EPA 3050                                           Analysis Description:             6020 MET
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          264057                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Aluminum                                               mg/kg                           ND                  50.0    09/27/16 09:50
    Antimony                                               mg/kg                           ND                  0.50    09/27/16 09:50
    Arsenic                                                mg/kg                           ND                  0.50    09/27/16 09:50
    Barium                                                 mg/kg                           ND                  0.50    09/27/16 09:50
    Beryllium                                              mg/kg                           ND                  0.50    09/27/16 09:50
    Boron                                                  mg/kg                           ND                   2.5    09/27/16 09:50
    Cadmium                                                mg/kg                           ND                  0.50    09/27/16 09:50
    Calcium                                                mg/kg                           ND                  50.0    09/27/16 09:50
    Chromium                                               mg/kg                           ND                  0.50    09/27/16 09:50
    Cobalt                                                 mg/kg                           ND                  0.50    09/27/16 09:50
    Copper                                                 mg/kg                           ND                   2.5    09/27/16 09:50
    Iron                                                   mg/kg                           ND                  50.0    09/27/16 09:50
    Lead                                                   mg/kg                           ND                  0.50    09/27/16 09:50
    Lithium                                                mg/kg                           ND                  0.50    09/27/16 09:50
    Magnesium                                              mg/kg                           ND                  50.0    09/27/16 09:50
    Manganese                                              mg/kg                           ND                  0.50    09/27/16 09:50
    Molybdenum                                             mg/kg                           ND                  0.50    09/27/16 09:50
    Nickel                                                 mg/kg                           ND                  0.50    09/27/16 09:50
    Potassium                                              mg/kg                           ND                  50.0    09/27/16 09:50        B
    Selenium                                               mg/kg                           ND                  0.50    09/27/16 09:50
    Silicon                                                mg/kg                           ND                   125    09/27/16 09:50        N2
    Silver                                                 mg/kg                           ND                  0.50    09/27/16 09:50
    Sodium                                                 mg/kg                           ND                  50.0    09/27/16 09:50
    Strontium                                              mg/kg                           ND                  0.50    09/27/16 09:50
    Thallium                                               mg/kg                           ND                  0.50    09/27/16 09:50
    Tin                                                    mg/kg                           ND                  0.50    09/27/16 09:50
    Titanium                                               mg/kg                           ND                   2.5    09/27/16 09:50
    Vanadium                                               mg/kg                           ND                   2.5    09/27/16 09:50
    Zinc                                                   mg/kg                           ND                   2.5    09/27/16 09:50



    LABORATORY CONTROL SAMPLE:                      264058
                                                                              Spike              LCS                   LCS               % Rec
                 Parameter                                 Units              Conc.             Result                % Rec              Limits            Qualifiers
    Aluminum                                               mg/kg                  1000                   979                   98             80-120
    Antimony                                               mg/kg                    10                   9.0                   90             84-120
    Arsenic                                                mg/kg                    10                   9.1                   91             84-120
    Barium                                                 mg/kg                    10                   9.6                   96             85-120
    Beryllium                                              mg/kg                    10                   9.1                   91             80-120
    Boron                                                  mg/kg                    10                   9.7                   97             80-120
    Cadmium                                                mg/kg                    10                   9.3                   93             85-120
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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    LABORATORY CONTROL SAMPLE:                      264058
                                                                              Spike             LCS                  LCS                 % Rec
                  Parameter                                Units              Conc.            Result               % Rec                Limits            Qualifiers
    Calcium                                                mg/kg                  1000                  970                   97              85-120
    Chromium                                               mg/kg                    10                  9.7                   97              85-120
    Cobalt                                                 mg/kg                    10                  9.7                   97              85-120
    Copper                                                 mg/kg                    10                  9.8                   98              85-120
    Iron                                                   mg/kg                  1000                  967                   97              85-120
    Lead                                                   mg/kg                    10                  9.5                   95              83-120
    Lithium                                                mg/kg                    10                  9.6                   96              80-120
    Magnesium                                              mg/kg                  1000                  966                   97              80-120
    Manganese                                              mg/kg                    10                  9.8                   98              85-120
    Molybdenum                                             mg/kg                    10                  9.6                   96              85-120
    Nickel                                                 mg/kg                    10                  9.8                   98              85-120
    Potassium                                              mg/kg                  1000                 1030                  103              85-119
    Selenium                                               mg/kg                    10                  9.2                   92              84-120
    Silicon                                                mg/kg                   500                  461                   92              80-120 N2
    Silver                                                 mg/kg                    10                  9.8                   98              81-120
    Sodium                                                 mg/kg                  1000                  986                   99              85-120
    Strontium                                              mg/kg                    10                  9.6                   96              85-120
    Thallium                                               mg/kg                    10                  9.8                   98              83-120
    Tin                                                    mg/kg                    10                  9.6                   96              80-120
    Titanium                                               mg/kg                    10                  9.5                   95              85-120
    Vanadium                                               mg/kg                    10                  9.6                   96              81-120
    Zinc                                                   mg/kg                    10                  9.4                   94              80-120



    MATRIX SPIKE & MATRIX SPIKE DUPLICATE:                        264059                               264060
                                                                             MS            MSD
                                                        2042741023          Spike          Spike         MS            MSD            MS           MSD          % Rec           Max
               Parameter                      Units        Result           Conc.          Conc.        Result         Result        % Rec         % Rec        Limits      RPD RPD           Qual
   Aluminum                                  mg/kg               14600            926           758        28400         25100           1490          1390       80-120          12    20   M1
   Antimony                                  mg/kg               0.033            9.3           7.6           3.9           3.0            42            40       80-120          25    20   M1,R1
   Arsenic                                   mg/kg                 0.82           9.3           7.6           6.8           4.9            65            54       80-120          32    20   M1,R1
   Barium                                    mg/kg                  116           9.3           7.6           115           115            -9           -13       80-120           0    20   M1
   Beryllium                                 mg/kg                 0.27           9.3           7.6           9.0           7.1            94            90       80-120          23    20   R1
   Boron                                     mg/kg                 0.41           9.3           7.6           8.2           6.2            84            76       80-120          28    20   M1,R1
   Cadmium                                   mg/kg              0.0060            9.3           7.6           8.2           6.5            89            86       80-120          23    20   R1
   Calcium                                   mg/kg                1890            926           758         2630          2270             79            50       80-120          14    20   M1
   Chromium                                  mg/kg                  3.8           9.3           7.6          11.5         10.1             83            83       80-120          13    20
   Cobalt                                    mg/kg                  5.3           9.3           7.6         13.2           11.4            85            80       80-120          15    20
   Copper                                    mg/kg                 22.0           9.3           7.6         28.4          27.0             70            66       80-120           5    20   M1
   Iron                                      mg/kg               22700            926           758        27700         24900            541           295       75-125          11    20   M1
   Lead                                      mg/kg                  4.3           9.3           7.6         15.9          13.8            125           126       80-120          14    20   M1
   Lithium                                   mg/kg                  2.1           9.3           7.6         13.0           11.3           118           122       75-125          14    20
   Magnesium                                 mg/kg                1580            926           758         2790          2370            130           105       80-120          16    20   M1
   Manganese                                 mg/kg                  347           9.3           7.6          348           337             10          -131       75-125           3    20   M1
   Molybdenum                                mg/kg               0.022            9.3           7.6           5.6           4.2            61            55       80-120          30    20   M1,R1
   Nickel                                    mg/kg                  3.2           9.3           7.6         10.9            8.8            83            74       80-120          21    20   M1,R1

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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    MATRIX SPIKE & MATRIX SPIKE DUPLICATE:                        264059                               264060
                                                                             MS            MSD
                                                        2042741023          Spike          Spike         MS            MSD            MS           MSD          % Rec           Max
               Parameter                      Units        Result           Conc.          Conc.        Result         Result        % Rec         % Rec        Limits      RPD RPD          Qual
   Potassium                                 mg/kg                 245            926           758          1150           959             98            94      80-120          18    20
   Selenium                                  mg/kg                0.29            9.3           7.6            6.5          4.6             67            57      80-120          33    20 M1,R1
   Silicon                                   mg/kg                2250            463           379          1590          1050           -142          -315      75-125          41    20 M1,N2,
                                                                                                                                                                                           R1
   Silver                                    mg/kg              0.0065            9.3           7.6           8.2            6.2            88            82      80-120          27    20 R1
   Sodium                                    mg/kg                  113           926           758           915            725            87            81      80-120          23    20 R1
   Strontium                                 mg/kg                 49.7           9.3           7.6          57.9           49.2            88            -7      75-125          16    20 M1
   Thallium                                  mg/kg               0.042            9.3           7.6           9.5            7.6           102           100      80-120          22    20 R1
   Tin                                       mg/kg                 0.43           9.3           7.6           9.4            8.7            97           109      80-120           8    20
   Titanium                                  mg/kg                  118           9.3           7.6           186            173           737           729      75-125           7    20 M1
   Vanadium                                  mg/kg                 55.8           9.3           7.6          67.2           68.9           123           173      80-120           3    20 M1
   Zinc                                      mg/kg                 14.9           9.3           7.6          25.1           22.2           109            96      80-120          12    20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63893                                              Analysis Method:                  EPA 6020
    QC Batch Method:         EPA 3010                                           Analysis Description:             6020 MET
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          265223                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Aluminum                                                mg/L                           ND                0.10      09/27/16 18:08
    Antimony                                                mg/L                           ND             0.0010       09/27/16 18:08
    Arsenic                                                 mg/L                           ND             0.0010       09/27/16 18:08
    Barium                                                  mg/L                           ND             0.0010       09/27/16 18:08
    Beryllium                                               mg/L                           ND             0.0010       09/27/16 18:08
    Boron                                                   mg/L                           ND             0.0050       09/27/16 18:08
    Cadmium                                                 mg/L                           ND             0.0010       09/27/16 18:08
    Calcium                                                 mg/L                           ND                0.10      09/27/16 18:08
    Chromium                                                mg/L                           ND             0.0010       09/27/16 18:08
    Cobalt                                                  mg/L                           ND             0.0010       09/27/16 18:08
    Copper                                                  mg/L                           ND             0.0030       09/27/16 18:08
    Iron                                                    mg/L                           ND                0.10      09/27/16 18:08
    Lead                                                    mg/L                           ND             0.0010       09/27/16 18:08
    Lithium                                                 mg/L                           ND             0.0010       09/27/16 18:08
    Magnesium                                               mg/L                           ND                0.10      09/27/16 18:08
    Manganese                                               mg/L                           ND             0.0010       09/27/16 18:08
    Molybdenum                                              mg/L                           ND             0.0030       09/27/16 18:08
    Nickel                                                  mg/L                           ND             0.0010       09/27/16 18:08
    Potassium                                               mg/L                           ND                0.10      09/27/16 18:08
    Selenium                                                mg/L                           ND             0.0010       09/27/16 18:08
    Silicon                                                 mg/L                           ND               0.050      09/27/16 18:08
    Silver                                                  mg/L                           ND            0.00050       09/27/16 18:08
    Sodium                                                  mg/L                           ND                0.10      09/27/16 18:08
    Strontium                                               mg/L                           ND             0.0010       09/27/16 18:08
    Thallium                                                mg/L                           ND            0.00050       09/27/16 18:08
    Tin                                                     mg/L                           ND             0.0010       09/27/16 18:08
    Titanium                                                mg/L                           ND             0.0010       09/27/16 18:08
    Vanadium                                                mg/L                           ND             0.0050       09/27/16 18:08
    Zinc                                                    mg/L                           ND             0.0050       09/27/16 18:08



    LABORATORY CONTROL SAMPLE:                      265224
                                                                              Spike              LCS                 LCS                 % Rec
                 Parameter                                 Units              Conc.             Result              % Rec                Limits            Qualifiers
    Aluminum                                                mg/L                       2                 2.0                 101              80-117
    Antimony                                                mg/L                     .02              0.020                   99              85-115
    Arsenic                                                 mg/L                     .02              0.020                  101              83-115
    Barium                                                  mg/L                     .02              0.020                  101              85-115
    Beryllium                                               mg/L                     .02              0.020                  100              80-116
    Boron                                                   mg/L                     .02              0.020                  102              80-120
    Cadmium                                                 mg/L                     .02              0.020                  100              85-115
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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    LABORATORY CONTROL SAMPLE:                      265224
                                                                              Spike             LCS                   LCS                % Rec
                  Parameter                                Units              Conc.            Result                % Rec               Limits            Qualifiers
    Calcium                                                 mg/L                       2                  2.0                102              80-120
    Chromium                                                mg/L                     .02               0.020                 100              85-115
    Cobalt                                                  mg/L                     .02               0.020                 101              85-115
    Copper                                                  mg/L                     .02               0.021                 104              80-120
    Iron                                                    mg/L                       2                  2.0                100              80-120
    Lead                                                    mg/L                     .02               0.019                  96              84-115
    Lithium                                                 mg/L                     .02               0.020                  98              80-120
    Magnesium                                               mg/L                       2                  2.0                 99              80-120
    Manganese                                               mg/L                     .02               0.020                 102              85-115
    Molybdenum                                              mg/L                     .02               0.019                  97              81-115
    Nickel                                                  mg/L                     .02               0.020                 101              80-118
    Potassium                                               mg/L                       2                  2.1                105              80-120
    Selenium                                                mg/L                     .02               0.021                 105              85-115
    Silicon                                                 mg/L                       1                  1.0                100              80-120
    Silver                                                  mg/L                     .02               0.020                 101              80-115
    Sodium                                                  mg/L                       2                  2.0                101              80-120
    Strontium                                               mg/L                     .02               0.020                 100              80-120
    Thallium                                                mg/L                     .02               0.019                  95              82-115
    Tin                                                     mg/L                     .02               0.020                  99              81-115
    Titanium                                                mg/L                     .02               0.020                  98              80-120
    Vanadium                                                mg/L                     .02               0.020                 100              81-115
    Zinc                                                    mg/L                     .02               0.021                 105              80-120



    MATRIX SPIKE & MATRIX SPIKE DUPLICATE:                         265225                               265226
                                                                             MS            MSD
                                                        2042935003          Spike          Spike          MS           MSD            MS           MSD          % Rec           Max
               Parameter                      Units        Result           Conc.          Conc.         Result        Result        % Rec         % Rec        Limits      RPD RPD          Qual
   Aluminum                                   mg/L                                   2             2           2.1           2.1           101           101      80-120          0    20
   Antimony                                   mg/L                                 .02           .02        0.020         0.020             98           101      80-120          3    20
   Arsenic                                    mg/L                                 .02           .02        0.023         0.024             93            93      80-120          1    20
   Barium                                     mg/L                                 .02           .02         0.60          0.61             22            56      80-120          1    20   M1
   Beryllium                                  mg/L                                 .02           .02        0.021         0.021            105           106      80-120          2    20
   Boron                                      mg/L                                 .02           .02         0.46          0.47             59            84      75-125          1    20   M1
   Cadmium                                    mg/L                                 .02           .02        0.018         0.019             92            93      80-120          2    20
   Calcium                                    mg/L                                   2             2          127           128            -15            15      80-120          0    20   M1
   Chromium                                   mg/L                                 .02           .02        0.019         0.019             91            92      80-120          2    20
   Cobalt                                     mg/L                                 .02           .02        0.019         0.019             88            89      80-120          0    20
   Copper                                     mg/L                                 .02           .02        0.017         0.017             82            83      80-120          0    20
   Iron                                       mg/L                                   2             2           2.6           2.6            92            93      80-120          1    20
   Lead                                       mg/L                                 .02           .02        0.020         0.021            101           103      80-120          2    20
   Lithium                                    mg/L                                 .02           .02        0.050         0.051             99           102      80-120          1    20
   Magnesium                                  mg/L                                   2             2         48.8          48.7             65            63      80-120          0    20   M1
   Manganese                                  mg/L                                 .02           .02         0.96          0.96             37            50      80-120          0    20   M1
   Molybdenum                                 mg/L                                 .02           .02        0.020         0.021             94            97      80-120          3    20
   Nickel                                     mg/L                                 .02           .02        0.019         0.019             84            86      80-120          1    20

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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    MATRIX SPIKE & MATRIX SPIKE DUPLICATE:                        265225                               265226
                                                                             MS            MSD
                                                        2042935003          Spike          Spike         MS            MSD            MS           MSD          % Rec           Max
               Parameter                      Units        Result           Conc.          Conc.        Result         Result        % Rec         % Rec        Limits      RPD RPD           Qual
   Potassium                                  mg/L                                   2             2           4.7           4.7            90            90      75-125          0     20
   Selenium                                   mg/L                   ND            .02           .02        0.019         0.019             93            94      80-120          1     20
   Silicon                                    mg/L                                   1             1         13.3          13.3             77            77      75-125          0     20
   Silver                                     mg/L                                 .02           .02        0.017         0.017             84            85      80-120          1     20
   Sodium                                     mg/L                                   2             2          123           123              5             5      75-125          0     20 M1
   Strontium                                  mg/L                                 .02           .02           1.4           1.4           -20            45      75-125          1     20 M1
   Thallium                                   mg/L                                 .02           .02        0.020         0.020             99           102      80-120          3     20
   Tin                                        mg/L                                 .02           .02        0.020         0.020             97            99      80-120          2     20
   Titanium                                   mg/L                                 .02           .02        0.021         0.021            101           101      80-120          0     20
   Vanadium                                   mg/L                                 .02           .02        0.020         0.020             95            96      80-120          1     20
   Zinc                                       mg/L                                 .02           .02        0.022         0.022             88            89      80-120          1     20



    MATRIX SPIKE & MATRIX SPIKE DUPLICATE:                        265227                               265228
                                                                             MS            MSD
                                                        2043014005          Spike          Spike         MS            MSD            MS           MSD          % Rec           Max
               Parameter                      Units        Result           Conc.          Conc.        Result         Result        % Rec         % Rec        Limits      RPD RPD           Qual
   Aluminum                                   mg/L                                                             2.2           2.1                                                   1    20
   Antimony                                   mg/L                                                          0.020         0.021                                                    2    20
   Arsenic                                    mg/L                                                          0.021         0.021                                                    0    20
   Barium                                     mg/L                                                          0.082         0.084                                                    2    20
   Beryllium                                  mg/L                                                          0.022         0.022                                                    0    20
   Boron                                      mg/L                                                           0.21          0.22                                                    2    20   M1
   Cadmium                                    mg/L                                                          0.019         0.019                                                    1    20
   Calcium                                    mg/L                                                           90.8          93.7                                                    3    20   M1
   Chromium                                   mg/L                                                          0.019         0.019                                                    0    20
   Cobalt                                     mg/L                                                          0.018         0.018                                                    1    20
   Copper                                     mg/L                                                          0.018         0.017                                                    1    20
   Iron                                       mg/L                                                             1.9           1.9                                                   1    20
   Lead                                       mg/L                                                          0.021         0.021                                                    0    20
   Lithium                                    mg/L                                                          0.060         0.061                                                    2    20
   Magnesium                                  mg/L                                                           43.3          44.6                                                    3    20   M1
   Manganese                                  mg/L                                                           0.18          0.18                                                    3    20
   Molybdenum                                 mg/L                                                          0.025         0.025                                                    1    20
   Nickel                                     mg/L                                                          0.018         0.019                                                    1    20
   Potassium                                  mg/L                                                             5.2           5.4                                                   3    20
   Selenium                                   mg/L                                                          0.021         0.022                                                    3    20
   Silicon                                    mg/L                                                           12.7          13.1                                                    3    20   M1
   Silver                                     mg/L                                                          0.018         0.018                                                    1    20
   Sodium                                     mg/L                                                           67.9          70.2                                                    3    20   M1
   Strontium                                  mg/L                                                             1.4           1.4                                                   1    20   M1
   Thallium                                   mg/L                                                          0.020         0.020                                                    0    20
   Tin                                        mg/L                                                          0.020         0.021                                                    1    20
   Titanium                                   mg/L                                                          0.018         0.021                                                   11    20
   Vanadium                                   mg/L                                                          0.039         0.040                                                    1    20

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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    MATRIX SPIKE & MATRIX SPIKE DUPLICATE:                        265227                               265228
                                                                             MS            MSD
                                                        2043014005          Spike          Spike         MS            MSD            MS           MSD          % Rec           Max
               Parameter                      Units        Result           Conc.          Conc.        Result         Result        % Rec         % Rec        Limits      RPD RPD          Qual
   Zinc                                       mg/L                                                          0.020         0.020                                                   1    20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63819                                              Analysis Method:                  SM 2510B
    QC Batch Method:         SM 2510B                                           Analysis Description:             2510B Specific Conductance
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          264758                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Specific Conductance                                umhos/cm                           ND                   1.0    09/23/16 15:12



    LABORATORY CONTROL SAMPLE:                      264759
                                                                              Spike              LCS                   LCS                 % Rec
                 Parameter                                 Units              Conc.             Result                % Rec                Limits          Qualifiers
    Specific Conductance                                umhos/cm                  1410                 1450                   103             95-105



    SAMPLE DUPLICATE:            264760
                                                                             2042596001                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Specific Conductance                                umhos/cm                          681                  684                     0                  20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63802                                              Analysis Method:                   SM 2540C
    QC Batch Method:         SM 2540C                                           Analysis Description:              2540C Total Dissolved Solids
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          264678                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                           Reporting
                  Parameter                          Units         Result                             Limit                Analyzed              Qualifiers
    Total Dissolved Solids                                  mg/L                           ND                    10.0    09/23/16 14:50



    LABORATORY CONTROL SAMPLE:                      264679
                                                                              Spike               LCS                    LCS               % Rec
                  Parameter                                Units              Conc.              Result                 % Rec              Limits          Qualifiers
    Total Dissolved Solids                                  mg/L                    100                   84.0                  84            80-120



    SAMPLE DUPLICATE:            264680
                                                                             2043007001                Dup                                      Max
                  Parameter                                Units               Result                 Result                RPD                 RPD               Qualifiers
    Total Dissolved Solids                                  mg/L                          4030                   4320                  7                  20



    SAMPLE DUPLICATE:            264681
                                                                             2042917007                Dup                                      Max
                  Parameter                                Units               Result                 Result                RPD                 RPD               Qualifiers
    Total Dissolved Solids                                  mg/L                          4160                   4240                  2                  20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63666                                              Analysis Method:                   SM 2540D
    QC Batch Method:         SM 2540D                                           Analysis Description:              2540D Total Suspended Solids
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          264095                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit                Analyzed              Qualifiers
    Total Suspended Solids                                  mg/L                           ND                     4.0    09/22/16 10:41



    LABORATORY CONTROL SAMPLE:                      264096
                                                                              Spike               LCS                    LCS               % Rec
                 Parameter                                 Units              Conc.              Result                 % Rec              Limits          Qualifiers
    Total Suspended Solids                                  mg/L                    100                   91.0                  91            80-120



    SAMPLE DUPLICATE:            264097
                                                                             2042892001                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Total Suspended Solids                                  mg/L                          14.0                   15.0                  7                  20



    SAMPLE DUPLICATE:            264098
                                                                             2042908001                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Total Suspended Solids                                  mg/L                           ND                     ND                                      20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                330128                                             Analysis Method:                  ASTM D4239-05
    QC Batch Method:         ASTM D4239-05                                      Analysis Description:             ASTM D4239-05 Sulfur
    Associated Lab Samples:           2042884001, 2042884002, 2042884003, 2042884004, 2042884005, 2042884006

    SAMPLE DUPLICATE:            1829356
                                                                             92313269001               Dup                                      Max
                 Parameter                                 Units                Result                Result                RPD                 RPD               Qualifiers
    Sulfur                                                % (w/w)                       0.117               0.120                      3                  10 N2




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                64169                                              Analysis Method:                  EPA 351.2
    QC Batch Method:         EPA 351.2                                          Analysis Description:             351.2 TKN
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          266349                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                  Parameter                          Units         Result                             Limit               Analyzed               Qualifiers
    Nitrogen, Kjeldahl, Total                              mg/kg                           ND                  50.0    09/30/16 10:55



    LABORATORY CONTROL SAMPLE:                      266350
                                                                              Spike              LCS                   LCS                 % Rec
                  Parameter                                Units              Conc.             Result                % Rec                Limits           Qualifiers
    Nitrogen, Kjeldahl, Total                              mg/kg                    525                  500                   95             80-120



    MATRIX SPIKE SAMPLE:                            266452
                                                                                2042884006             Spike             MS                   MS                 % Rec
                  Parameter                                Units                  Result               Conc.            Result               % Rec               Limits              Qualifiers
    Nitrogen, Kjeldahl, Total                              mg/kg                              207           241                  428                   92             75-125



    SAMPLE DUPLICATE:            266451
                                                                             2042884006                Dup                                      Max
                  Parameter                                Units               Result                 Result                RPD                 RPD               Qualifiers
    Nitrogen, Kjeldahl, Total                              mg/kg                          207                  195                     6                  20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                64174                                              Analysis Method:                   EPA 351.2
    QC Batch Method:         EPA 351.2                                          Analysis Description:              351.2 TKN
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          266361                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                            Reporting
                  Parameter                          Units         Result                              Limit              Analyzed               Qualifiers
    Nitrogen, Kjeldahl, Total                               mg/L                           ND                   0.10    09/30/16 10:57



    LABORATORY CONTROL SAMPLE:                      266362
                                                                              Spike               LCS                   LCS               % Rec
                  Parameter                                Units              Conc.              Result                % Rec              Limits            Qualifiers
    Nitrogen, Kjeldahl, Total                               mg/L                     5.2                  5.2                  99             80-120



    MATRIX SPIKE SAMPLE:                            266364
                                                                                2042881001             Spike              MS                 MS                  % Rec
                  Parameter                                Units                  Result               Conc.             Result             % Rec                Limits              Qualifiers
    Nitrogen, Kjeldahl, Total                               mg/L                               1.1           2.5                  4.0                 117             75-125



    SAMPLE DUPLICATE:            266363
                                                                             2042881001                Dup                                      Max
                  Parameter                                Units               Result                 Result                RPD                 RPD               Qualifiers
    Nitrogen, Kjeldahl, Total                               mg/L                           1.1                  0.92                 18                   20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                64170                                              Analysis Method:                  EPA 365.4
    QC Batch Method:         EPA 365.4                                          Analysis Description:             365.4 Total Phosphorus
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          266353                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Phosphorus                                             mg/kg                           ND                   10.0    10/03/16 10:35



    LABORATORY CONTROL SAMPLE:                      266354
                                                                              Spike               LCS                   LCS                 % Rec
                 Parameter                                 Units              Conc.              Result                % Rec                Limits           Qualifiers
    Phosphorus                                             mg/kg                    203                   211                  104             80-120



    MATRIX SPIKE SAMPLE:                            266454
                                                                                2042884006             Spike              MS                   MS                % Rec
                 Parameter                                 Units                  Result               Conc.             Result               % Rec              Limits              Qualifiers
    Phosphorus                                             mg/kg                             73.1           241                   291                   91            75-125



    SAMPLE DUPLICATE:            266453
                                                                             2042884006                Dup                                       Max
                 Parameter                                 Units               Result                 Result                RPD                  RPD              Qualifiers
    Phosphorus                                             mg/kg                          73.1                  72.0                    2                 20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                64171                                              Analysis Method:                   EPA 365.4
    QC Batch Method:         EPA 365.4                                          Analysis Description:              365.4 Phosphorus
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          266357                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                            Reporting
                 Parameter                           Units         Result                              Limit               Analyzed               Qualifiers
    Phosphorus                                              mg/L                            ND               0.050       10/03/16 10:40



    LABORATORY CONTROL SAMPLE:                      266358
                                                                              Spike                LCS                   LCS                 % Rec
                 Parameter                                 Units              Conc.               Result                % Rec                Limits           Qualifiers
    Phosphorus                                              mg/L                       2                   2.1                  102             80-120



    MATRIX SPIKE SAMPLE:                            266360
                                                                                2042881001             Spike               MS                   MS                % Rec
                 Parameter                                 Units                  Result               Conc.              Result               % Rec              Limits             Qualifiers
    Phosphorus                                              mg/L                             0.20            2.5                   2.7                   99           75-125



    SAMPLE DUPLICATE:            266359
                                                                             2042881001                Dup                                        Max
                 Parameter                                 Units               Result                 Result                RPD                   RPD              Qualifiers
    Phosphorus                                              mg/L                           0.20                  0.21                    7                20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63698                                              Analysis Method:                  SM 4500-Cl-E
    QC Batch Method:         SM 4500-Cl-E                                       Analysis Description:             4500 Chloride
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          264180                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                            Reporting
                 Parameter                           Units         Result                              Limit              Analyzed               Qualifiers
    Chloride                                                mg/L                           ND                   1.0    09/22/16 11:12



    LABORATORY CONTROL SAMPLE:                      264181
                                                                              Spike               LCS                  LCS                 % Rec
                 Parameter                                 Units              Conc.              Result               % Rec                Limits           Qualifiers
    Chloride                                                mg/L                    107                   105                  98             90-110



    MATRIX SPIKE SAMPLE:                            264183
                                                                                2042884001             Spike             MS                   MS                 % Rec
                 Parameter                                 Units                  Result               Conc.            Result               % Rec               Limits              Qualifiers
    Chloride                                                mg/L                               1.5          100                  102                  101             75-125



    SAMPLE DUPLICATE:            264182
                                                                             2042884001                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Chloride                                                mg/L                           1.5                  1.5                    2                  20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                64562                                              Analysis Method:                     SM 4500-NH3 D
    QC Batch Method:         SM 4500-NH3 B                                      Analysis Description:                4500 Ammonia, Distilled
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          268215                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit                Analyzed              Qualifiers
    Nitrogen, Ammonia                                      mg/kg                           ND                    5.0    10/04/16 13:04



    LABORATORY CONTROL SAMPLE:                      268216
                                                                              Spike              LCS                    LCS               % Rec
                 Parameter                                 Units              Conc.             Result                 % Rec              Limits            Qualifiers
    Nitrogen, Ammonia                                      mg/kg                     50                  46.9                  94             80-120



    MATRIX SPIKE SAMPLE:                            268218
                                                                                2042884004             Spike              MS                 MS                  % Rec
                 Parameter                                 Units                  Result               Conc.             Result             % Rec                Limits              Qualifiers
    Nitrogen, Ammonia                                      mg/kg                              105               50                157                 105             75-125



    SAMPLE DUPLICATE:            268217
                                                                             2042884004                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Nitrogen, Ammonia                                      mg/kg                          105                   78.4                 29                   20 D6




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                64605                                              Analysis Method:                       SM 4500-NH3 G
    QC Batch Method:         SM 4500-NH3 B                                      Analysis Description:                  4500 Ammonia, Distilled
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          268347                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                            Reporting
                 Parameter                           Units         Result                              Limit                 Analyzed              Qualifiers
    Nitrogen, Ammonia                                       mg/L                            ND                    0.10    10/04/16 13:25



    LABORATORY CONTROL SAMPLE:                      268348
                                                                              Spike                LCS                    LCS                 % Rec
                 Parameter                                 Units              Conc.               Result                 % Rec                Limits           Qualifiers
    Nitrogen, Ammonia                                       mg/L                       1                   0.94                  94              80-120



    MATRIX SPIKE SAMPLE:                            268350
                                                                                2042888002             Spike                MS                   MS                % Rec
                 Parameter                                 Units                  Result               Conc.               Result               % Rec              Limits            Qualifiers
    Nitrogen, Ammonia                                       mg/L                             0.89                  1                1.3                   41           75-125 M1



    SAMPLE DUPLICATE:            268349
                                                                             2042888002                Dup                                         Max
                 Parameter                                 Units               Result                 Result                  RPD                  RPD              Qualifiers
    Nitrogen, Ammonia                                       mg/L                           0.89                   0.89                    1                20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63792                                              Analysis Method:                   SM 4500-NO3 F
    QC Batch Method:         SM 4500-NO3 F                                      Analysis Description:              SM4500NO3-F, Nitrate
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          264636                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Nitrogen, NO2 plus NO3                                 mg/kg                           ND                   0.50    09/25/16 18:02



    LABORATORY CONTROL SAMPLE:                      264637
                                                                              Spike              LCS                    LCS              % Rec
                 Parameter                                 Units              Conc.             Result                 % Rec             Limits             Qualifiers
    Nitrogen, NO2 plus NO3                                 mg/kg                   17.7                  19.5                  110            80-120



    MATRIX SPIKE SAMPLE:                            264639
                                                                                2042884004             Spike              MS                 MS                  % Rec
                 Parameter                                 Units                  Result               Conc.             Result             % Rec                Limits              Qualifiers
    Nitrogen, NO2 plus NO3                                 mg/kg                               ND            9.4                  10.8                114             80-120



    SAMPLE DUPLICATE:            264638
                                                                             2042884004                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Nitrogen, NO2 plus NO3                                 mg/kg                           ND                    ND                                       20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                64820                                              Analysis Method:                  SM 4500-NO3 F
    QC Batch Method:         SM 4500-NO3 F                                      Analysis Description:             SM4500NO3-F, Nitrate, Preserved
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          269032                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Nitrogen, NO2 plus NO3                                  mg/L                           ND               0.050      10/05/16 17:48



    LABORATORY CONTROL SAMPLE:                      269033
                                                                              Spike              LCS                 LCS                 % Rec
                 Parameter                                 Units              Conc.             Result              % Rec                Limits            Qualifiers
    Nitrogen, NO2 plus NO3                                  mg/L                     1.8                 1.6                   91             90-110




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63793                                              Analysis Method:                  EPA 7196
    QC Batch Method:         EPA 7196                                           Analysis Description:             7196 Chromium, Hexavalent
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          264640                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Chromium, Hexavalent                                   mg/kg                           ND                  0.10    09/24/16 12:30



    LABORATORY CONTROL SAMPLE:                      264641
                                                                              Spike              LCS                   LCS               % Rec
                 Parameter                                 Units              Conc.             Result                % Rec              Limits             Qualifiers
    Chromium, Hexavalent                                   mg/kg                       2                 2.0                   98             80-120



    MATRIX SPIKE SAMPLE:                            264643
                                                                                2042884004             Spike             MS                  MS                  % Rec
                 Parameter                                 Units                  Result               Conc.            Result              % Rec                Limits              Qualifiers
    Chromium, Hexavalent                                   mg/kg                               ND          23.6                  20.9                  89             75-125



    SAMPLE DUPLICATE:            264642
                                                                             2042884004                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Chromium, Hexavalent                                   mg/kg                           ND                   ND                                        20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63584                                              Analysis Method:                   EPA 7196
    QC Batch Method:         EPA 7196                                           Analysis Description:              7196 Chromium, Hexavalent
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          263780                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Chromium, Hexavalent                                    mg/L                           ND               0.010      09/21/16 15:58



    LABORATORY CONTROL SAMPLE:                      263781
                                                                              Spike              LCS                  LCS                % Rec
                 Parameter                                 Units              Conc.             Result               % Rec               Limits              Qualifiers
    Chromium, Hexavalent                                    mg/L                      .2                 0.20                102              90-110



    MATRIX SPIKE SAMPLE:                            263783
                                                                                2042884001             Spike             MS                  MS                  % Rec
                 Parameter                                 Units                  Result               Conc.            Result              % Rec                Limits              Qualifiers
    Chromium, Hexavalent                                    mg/L                               ND            .25                  ND                     0            75-125 H1,M1



    SAMPLE DUPLICATE:            263782
                                                                             2042884001                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Chromium, Hexavalent                                    mg/L                           ND                   ND                                        20 H1




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63714                                              Analysis Method:                   EPA 9012
    QC Batch Method:         EPA 9010                                           Analysis Description:              9012 Cyanide
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          264239                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Cyanide                                                mg/kg                           ND                   1.0    09/24/16 11:35



    LABORATORY CONTROL SAMPLE:                      264240
                                                                              Spike              LCS                   LCS               % Rec
                 Parameter                                 Units              Conc.             Result                % Rec              Limits             Qualifiers
    Cyanide                                                mg/kg                       5                 5.2                  104             80-120



    MATRIX SPIKE SAMPLE:                            264242
                                                                                2042884004             Spike             MS                  MS                  % Rec
                 Parameter                                 Units                  Result               Conc.            Result              % Rec                Limits              Qualifiers
    Cyanide                                                mg/kg                               ND              5                  5.1                 103             75-125



    SAMPLE DUPLICATE:            264241
                                                                             2042884004                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Cyanide                                                mg/kg                           ND                  ND                                         20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63715                                              Analysis Method:                     EPA 9012
    QC Batch Method:         EPA 9010                                           Analysis Description:                EPA 9012 Cyanide
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          264243                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Cyanide                                                 mg/L                           ND               0.010       09/24/16 11:35



    LABORATORY CONTROL SAMPLE:                      264244
                                                                              Spike              LCS                   LCS               % Rec
                 Parameter                                 Units              Conc.             Result                % Rec              Limits             Qualifiers
    Cyanide                                                 mg/L                      .1                 0.10                 104             80-120



    MATRIX SPIKE SAMPLE:                            264246
                                                                                2042884001             Spike              MS                 MS                  % Rec
                 Parameter                                 Units                  Result               Conc.             Result             % Rec                Limits              Qualifiers
    Cyanide                                                 mg/L                               ND               .1                0.12                116             75-125



    SAMPLE DUPLICATE:            264245
                                                                             2042884001                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Cyanide                                                 mg/L                           ND                   ND                                        20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63794                                              Analysis Method:                  EPA 9038
    QC Batch Method:         EPA 9038                                           Analysis Description:             9038 Sulfate, Turbidimetric
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          264644                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Sulfate                                                mg/kg                           ND                   50.0    09/24/16 12:32



    LABORATORY CONTROL SAMPLE:                      264645
                                                                              Spike               LCS                   LCS                % Rec
                 Parameter                                 Units              Conc.              Result                % Rec               Limits           Qualifiers
    Sulfate                                                mg/kg                    200                   207                  104            90-110



    MATRIX SPIKE SAMPLE:                            264647
                                                                                2042884004             Spike              MS                  MS                 % Rec
                 Parameter                                 Units                  Result               Conc.             Result              % Rec               Limits              Qualifiers
    Sulfate                                                mg/kg                            3530            943                 4450                   97             75-125



    SAMPLE DUPLICATE:            264646
                                                                             2042884004                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Sulfate                                                mg/kg                          3530                  3590                   2                  20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63909                                              Analysis Method:                   EPA 9065
    QC Batch Method:         EPA 9065                                           Analysis Description:              9065 Phenolics
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          265282                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Phenolics, Total Recoverable                           mg/kg                           ND                  0.15    09/27/16 14:28



    LABORATORY CONTROL SAMPLE:                      265283
                                                                              Spike              LCS                   LCS               % Rec
                 Parameter                                 Units              Conc.             Result                % Rec              Limits             Qualifiers
    Phenolics, Total Recoverable                           mg/kg                     2.5                 2.7                  109             80-120



    MATRIX SPIKE SAMPLE:                            265285
                                                                               40138499001             Spike             MS                  MS                  % Rec
                 Parameter                                 Units                  Result               Conc.            Result              % Rec                Limits              Qualifiers
    Phenolics, Total Recoverable                           mg/kg                            <0.15            2.5                 0.44                  15             75-125 M1



    SAMPLE DUPLICATE:            265284
                                                                             40138499001               Dup                                      Max
                 Parameter                                 Units                Result                Result                RPD                 RPD               Qualifiers
    Phenolics, Total Recoverable                           mg/kg                        <0.15                   ND                                        20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63763                                              Analysis Method:                  EPA 9065
    QC Batch Method:         EPA 9065                                           Analysis Description:             9065 Phenolics
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          264484                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Phenolics, Total Recoverable                            mg/L                           ND              0.0060      09/23/16 15:21



    LABORATORY CONTROL SAMPLE:                      264485
                                                                              Spike              LCS                 LCS                 % Rec
                 Parameter                                 Units              Conc.             Result              % Rec                Limits            Qualifiers
    Phenolics, Total Recoverable                            mg/L                      .1                 0.11                106              80-120




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63791                                              Analysis Method:                  EPA 9251
    QC Batch Method:         EPA 9251                                           Analysis Description:             9251 Chloride
    Associated Lab Samples:           2042884004, 2042884005, 2042884006

    METHOD BLANK:          264632                                                      Matrix: Solid
    Associated Lab Samples:           2042884004, 2042884005, 2042884006
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit               Analyzed               Qualifiers
    Chloride                                               mg/kg                           ND                  10.0    09/24/16 10:51



    LABORATORY CONTROL SAMPLE:                      264633
                                                                              Spike              LCS                   LCS               % Rec
                 Parameter                                 Units              Conc.             Result                % Rec              Limits             Qualifiers
    Chloride                                               mg/kg                  1070                 1080                   101             90-110



    MATRIX SPIKE SAMPLE:                            264635
                                                                                2042884004             Spike             MS                  MS                  % Rec
                 Parameter                                 Units                  Result               Conc.            Result              % Rec                Limits              Qualifiers
    Chloride                                               mg/kg                              123          9430                9990                   105             75-125



    SAMPLE DUPLICATE:            264634
                                                                             2042884004                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Chloride                                               mg/kg                          123                94.8J                                        20




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                                                                            QUALITY CONTROL DATA

    Project:               Maxine Mine
    Pace Project No.:      2042884

    QC Batch:                63699                                              Analysis Method:                      ASTM D516-90,02
    QC Batch Method:         ASTM D516-90,02                                    Analysis Description:                 ASTM D516-9002 Sulfate Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003

    METHOD BLANK:          264185                                                      Matrix: Water
    Associated Lab Samples:           2042884001, 2042884002, 2042884003
                                                                    Blank                           Reporting
                 Parameter                           Units         Result                             Limit                Analyzed              Qualifiers
    Sulfate                                                 mg/L                           ND                     1.0    09/22/16 13:05



    LABORATORY CONTROL SAMPLE:                      264186
                                                                              Spike               LCS                    LCS               % Rec
                 Parameter                                 Units              Conc.              Result                 % Rec              Limits           Qualifiers
    Sulfate                                                 mg/L                     20                   19.8                  99            90-110



    MATRIX SPIKE SAMPLE:                            264188
                                                                                2042884001             Spike               MS                 MS                 % Rec
                 Parameter                                 Units                  Result               Conc.              Result             % Rec               Limits              Qualifiers
    Sulfate                                                 mg/L                            6020                 10             5200                -8200             75-125 M6



    SAMPLE DUPLICATE:            264187
                                                                             2042884001                Dup                                      Max
                 Parameter                                 Units               Result                 Result                RPD                 RPD               Qualifiers
    Sulfate                                                 mg/L                          6020                   5960                  1                  20




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                                                                             QUALIFIERS

    Project:             Maxine Mine
    Pace Project No.:    2042884

    DEFINITIONS

          DF - Dilution Factor, if reported, represents the factor applied to the reported data due to dilution of the sample aliquot.
          ND - Not Detected at or above adjusted reporting limit.
          J - Estimated concentration above the adjusted method detection limit and below the adjusted reporting limit.
          MDL - Adjusted Method Detection Limit.
          PQL - Practical Quantitation Limit.
          RL - Reporting Limit.
          S - Surrogate
          1,2-Diphenylhydrazine decomposes to and cannot be separated from Azobenzene using Method 8270. The result for each analyte is
          a combined concentration.
          Consistent with EPA guidelines, unrounded data are displayed and have been used to calculate % recovery and RPD values.
          LCS(D) - Laboratory Control Sample (Duplicate)
          MS(D) - Matrix Spike (Duplicate)
          DUP - Sample Duplicate
          RPD - Relative Percent Difference
          NC - Not Calculable.
          SG - Silica Gel - Clean-Up
          U - Indicates the compound was analyzed for, but not detected.
          N-Nitrosodiphenylamine decomposes and cannot be separated from Diphenylamine using Method 8270. The result reported for
          each analyte is a combined concentration.
          Pace Analytical is TNI accredited. Contact your Pace PM for the current list of accredited analytes.
          TNI - The Nelac Institute

    LABORATORIES

           PASI-A       Pace Analytical Services - Asheville
           PASI-N       Pace Analytical Services - New Orleans

    ANALYTE QUALIFIERS
          B             Analyte was detected in the associated method blank.
          D6            The precision between the sample and sample duplicate exceeded laboratory control limits.
          H1            Analysis conducted outside the EPA method holding time.
          M1            Matrix spike recovery exceeded QC limits. Batch accepted based on laboratory control sample (LCS) recovery.
          M6            Matrix spike and Matrix spike duplicate recovery not evaluated against control limits due to sample dilution.
          N2            The lab does not hold NELAC/TNI accreditation for this parameter.
          R1            RPD value was outside control limits.




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                                        QUALITY CONTROL DATA CROSS REFERENCE TABLE

    Project:            Maxine Mine
    Pace Project No.:   2042884

                                                                                                                                          Analytical
    Lab ID                 Sample ID                         QC Batch Method                     QC Batch     Analytical Method           Batch

    2042884004             SLO1 SED                          EPA 3050                            63657        EPA 6020                    63709
    2042884005             REF1 SED                          EPA 3050                            63657        EPA 6020                    63709
    2042884006             BCDS SED                          EPA 3050                            63657        EPA 6020                    63709

    2042884001             SLO1 WATER                        EPA 3010                            63893        EPA 6020                    63970
    2042884002             REF1 WATER                        EPA 3010                            63893        EPA 6020                    63970
    2042884003             BCDS WATER                        EPA 3010                            63893        EPA 6020                    63970

    2042884001             SLO1 WATER                        EPA 7470                            63527        EPA 7470                    63579
    2042884002             REF1 WATER                        EPA 7470                            63527        EPA 7470                    63579
    2042884003             BCDS WATER                        EPA 7470                            63527        EPA 7470                    63579

    2042884004             SLO1 SED                          EPA 7471                            63591        EPA 7471                    63641
    2042884005             REF1 SED                          EPA 7471                            63591        EPA 7471                    63641
    2042884006             BCDS SED                          EPA 7471                            63591        EPA 7471                    63641

    2042884001             SLO1 WATER                        SM 2510B                            63819
    2042884002             REF1 WATER                        SM 2510B                            63819
    2042884003             BCDS WATER                        SM 2510B                            63819

    2042884001             SLO1 WATER                        SM 2540C                            63802
    2042884002             REF1 WATER                        SM 2540C                            63802
    2042884003             BCDS WATER                        SM 2540C                            63802

    2042884001             SLO1 WATER                        SM 2540D                            63666
    2042884002             REF1 WATER                        SM 2540D                            63666
    2042884003             BCDS WATER                        SM 2540D                            63666

    2042884001             SLO1 WATER                        ASTM D4239-05                       330128
    2042884002             REF1 WATER                        ASTM D4239-05                       330128
    2042884003             BCDS WATER                        ASTM D4239-05                       330128
    2042884004             SLO1 SED                          ASTM D4239-05                       330128
    2042884005             REF1 SED                          ASTM D4239-05                       330128
    2042884006             BCDS SED                          ASTM D4239-05                       330128

    2042884004             SLO1 SED                          Trivalent Chromium                  63632
                                                             Calculation
    2042884005             REF1 SED                          Trivalent Chromium                  63632
                                                             Calculation
    2042884006             BCDS SED                          Trivalent Chromium                  63632
                                                             Calculation
    2042884001             SLO1 WATER                        Trivalent Chromium                  63633
                                                             Calculation
    2042884002             REF1 WATER                        Trivalent Chromium                  63633
                                                             Calculation
    2042884003             BCDS WATER                        Trivalent Chromium                  63633
                                                             Calculation
    2042884004             SLO1 SED                          EPA 351.2                           64169        EPA 351.2                   64343
    2042884005             REF1 SED                          EPA 351.2                           64169        EPA 351.2                   64343
    2042884006             BCDS SED                          EPA 351.2                           64169        EPA 351.2                   64343

    2042884001             SLO1 WATER                        EPA 351.2                           64174        EPA 351.2                   64345
    2042884002             REF1 WATER                        EPA 351.2                           64174        EPA 351.2                   64345
    2042884003             BCDS WATER                        EPA 351.2                           64174        EPA 351.2                   64345



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                                        QUALITY CONTROL DATA CROSS REFERENCE TABLE

    Project:            Maxine Mine
    Pace Project No.:   2042884

                                                                                                                                          Analytical
    Lab ID                 Sample ID                         QC Batch Method                     QC Batch     Analytical Method           Batch

    2042884004             SLO1 SED                          EPA 365.4                           64170        EPA 365.4                   64533
    2042884005             REF1 SED                          EPA 365.4                           64170        EPA 365.4                   64533
    2042884006             BCDS SED                          EPA 365.4                           64170        EPA 365.4                   64533

    2042884001             SLO1 WATER                        EPA 365.4                           64171        EPA 365.4                   64534
    2042884002             REF1 WATER                        EPA 365.4                           64171        EPA 365.4                   64534
    2042884003             BCDS WATER                        EPA 365.4                           64171        EPA 365.4                   64534

    2042884001             SLO1 WATER                        SM 4500-Cl-E                        63698
    2042884002             REF1 WATER                        SM 4500-Cl-E                        63698
    2042884003             BCDS WATER                        SM 4500-Cl-E                        63698

    2042884004             SLO1 SED                          SM 4500-NH3 B                       64562        SM 4500-NH3 D               64635
    2042884005             REF1 SED                          SM 4500-NH3 B                       64562        SM 4500-NH3 D               64635
    2042884006             BCDS SED                          SM 4500-NH3 B                       64562        SM 4500-NH3 D               64635

    2042884001             SLO1 WATER                        SM 4500-NH3 B                       64605        SM 4500-NH3 G               64683
    2042884002             REF1 WATER                        SM 4500-NH3 B                       64605        SM 4500-NH3 G               64683
    2042884003             BCDS WATER                        SM 4500-NH3 B                       64605        SM 4500-NH3 G               64683

    2042884004             SLO1 SED                          SM 4500-NO3 F                       63792        SM 4500-NO3 F               63875
    2042884005             REF1 SED                          SM 4500-NO3 F                       63792        SM 4500-NO3 F               63875
    2042884006             BCDS SED                          SM 4500-NO3 F                       63792        SM 4500-NO3 F               63875

    2042884001             SLO1 WATER                        SM 4500-NO3 F                       64820
    2042884002             REF1 WATER                        SM 4500-NO3 F                       64820
    2042884003             BCDS WATER                        SM 4500-NO3 F                       64820

    2042884004             SLO1 SED                          EPA 7196                            63793        EPA 7196                    63877
    2042884005             REF1 SED                          EPA 7196                            63793        EPA 7196                    63877
    2042884006             BCDS SED                          EPA 7196                            63793        EPA 7196                    63877

    2042884001             SLO1 WATER                        EPA 7196                            63584
    2042884002             REF1 WATER                        EPA 7196                            63584
    2042884003             BCDS WATER                        EPA 7196                            63584

    2042884004             SLO1 SED                          EPA 9010                            63714        EPA 9012                    63741
    2042884005             REF1 SED                          EPA 9010                            63714        EPA 9012                    63741
    2042884006             BCDS SED                          EPA 9010                            63714        EPA 9012                    63741

    2042884001             SLO1 WATER                        EPA 9010                            63715        EPA 9012                    63742
    2042884002             REF1 WATER                        EPA 9010                            63715        EPA 9012                    63742
    2042884003             BCDS WATER                        EPA 9010                            63715        EPA 9012                    63742

    2042884004             SLO1 SED                          EPA 9038                            63794        EPA 9038                    63878
    2042884005             REF1 SED                          EPA 9038                            63794        EPA 9038                    63878
    2042884006             BCDS SED                          EPA 9038                            63794        EPA 9038                    63878

    2042884004             SLO1 SED                          EPA 9065                            63909        EPA 9065                    63953
    2042884005             REF1 SED                          EPA 9065                            63909        EPA 9065                    63953
    2042884006             BCDS SED                          EPA 9065                            63909        EPA 9065                    63953

    2042884001             SLO1 WATER                        EPA 9065                            63763        EPA 9065                    63827
    2042884002             REF1 WATER                        EPA 9065                            63763        EPA 9065                    63827
    2042884003             BCDS WATER                        EPA 9065                            63763        EPA 9065                    63827




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                                        QUALITY CONTROL DATA CROSS REFERENCE TABLE

    Project:            Maxine Mine
    Pace Project No.:   2042884

                                                                                                                                          Analytical
    Lab ID                 Sample ID                         QC Batch Method                     QC Batch     Analytical Method           Batch

    2042884004             SLO1 SED                          EPA 9251                            63791        EPA 9251                    63876
    2042884005             REF1 SED                          EPA 9251                            63791        EPA 9251                    63876
    2042884006             BCDS SED                          EPA 9251                            63791        EPA 9251                    63876

    2042884001             SLO1 WATER                        ASTM D516-90,02                     63699
    2042884002             REF1 WATER                        ASTM D516-90,02                     63699
    2042884003             BCDS WATER                        ASTM D516-90,02                     63699




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